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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


                                                                    Case No.: 18 Civ. 11071 (AKH)
IN RE GREENSKY
SECURITIES LITIGATION




       I, Alexander Villanova, declare and state as follows:


               1.     I am a Senior Project Manager employed by Epiq Class Action & Claims

       Solutions, Inc. (“Epiq”). Pursuant to the Court’s Preliminary Approval Order dated June

       11, 2021 (Dkt. No. 187) (the “Preliminarily Approval Order”), Epiq was authorized to act

       as the Claims Administrator for the Settlement in the above-captioned action (the

       “Action”).

               2.     The following statements are based on my personal knowledge and

       information provided by Epiq employees working under my supervision, and if called on

       to do so, I could and would testify competently thereto.

               3.     I submit this Declaration in order to provide the Court and the Parties to

       the Settlement with information regarding, among other things, the mailing of the Court-

       approved Notice of Proposed Settlement (the “Notice”) and the Claim Form (together,

       the “Notice Packet”), as well as the publication and transmission of the Summary Notice,

       and establishment of the website and toll-free number dedicated to this class action, in

       accordance with the Preliminary Approval Order.


       I.      MAILING OF THE NOTICE AND PROOF OF CLAIM

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        4.      Pursuant to the Preliminary Approval Order, Epiq was responsible for

disseminating the Notice Packet to Class Members at the mailing addresses set forth in

the records provided by GreenSky and refined by Epiq in connection with the mailing of

the Notice of Pendency of Class Action in July 2020 (“Notice of Pendency”). By

definition, Class Members are all persons and entities who purchased GreenSky Class A

common stock pursuant and/or traceable to the registration statement and prospectus

issued in connection with GreenSky, Inc.’s May 25, 2018 initial public offering (“IPO”),

and were damaged thereby.

        5.      Epiq maintained in its own records potential members of the Class in

connection with the Notice of Pendency. The data refined by Epiq resulted in 5,364

unique mailing records. On July 2, 2021 (the “Initial Mailing”), Epiq caused Notice

Packets to be mailed to the 5,364 unique mailing records.

        6.      As in most class actions of this nature, the large majority of potential

Class Members are expected to be beneficial purchasers whose securities are held in

“street name” – i.e., the securities are purchased by brokerage firms, banks, institutions

and other third-party nominees in the name of the nominee, on behalf of the beneficial

purchasers. Epiq maintains and updates a proprietary internal list of the largest and most

common banks, brokers and other nominees. At the time of the Initial Mailing, Epiq’s

internal broker list contained 1,139 mailing records. On July 2, 2021, Epiq caused

additional Notice Packets to be mailed to the 1,139 mailing records contained in its

internal broker list.

        7. In total, Epiq mailed 6,503 copies of the Notice Packet as part of the Initial

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Mailing. A copy of the Notice Packet is attached hereto as Exhibit A.

         8.    The Notice directed those who purchased GreenSky Class A common

stock pursuant and/or traceable to the IPO for the beneficial interest of a person or

organization other than themselves to either (a) within fourteen (14) calendar days of

receipt of the Notice, request from Epiq sufficient copies of the Notice Packet to forward

to all such beneficial owners, or (b) within fourteen (14) calendar days of receipt of the

Notice, provide to Epiq the names and addresses of all such beneficial owners.

         9.    From the Initial Mailing through September 13, 2021, Epiq received an

additional 1,575 names and addresses of potential Class Members from individuals or

brokerage firms, banks, institutions, and other nominees. Epiq has also received requests

from brokers and other nominee holders for 6,240 Notice Packets to be forwarded by the

nominees to their customers. All such requests have been, and will continue to be,

complied with and addressed in a timely manner.

         10.   As of September 13, 2021, a total of 14,318 Notice Packets have been

mailed to Class Members and nominees.

II.      PUBLICATION OF THE SUMMARY NOTICE

         11.   In accordance with Paragraph 6 of the Preliminary Approval Order, Epiq

caused the Summary Notice of Proposed Settlement to be published over PR Newswire

and in IBD Weekly on July 12, 2021. Copies of proof of publication of the Summary

Notice over PR Newswire and in IBD Weekly are attached hereto as Exhibit B.

III.     CALL CENTER SERVICES


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       12.     Epiq reserved a toll-free phone number for the Settlement, (855) 917-

3539, and published that toll-free number in the Notice Packet, in the Summary Notice,

and on the Settlement Website.

       13.     The toll-free number became operational on July 2, 2021. The toll-free

number connects callers with an Interactive Voice Recording (“IVR”). The IVR provides

potential Settlement Class Members and others who call the toll-free telephone number

access to additional information that has been pre-recorded. The toll-free telephone line

with pre-recorded information is available 24 hours a day, 7 days a week. Specifically, the

pre-recorded message provides callers with a brief summary of the Settlement and the

option to select one of several more detailed recorded messages addressing frequently

asked questions. The IVR also allows callers to request that a copy of the Notice Packet

be mailed to them, or the caller may opt to speak live with a trained operator. Callers can

speak to a live operator regarding the status of the Settlement and/or obtain answers to

questions they may have, Monday through Friday from 9:00 a.m. to 6:00 p.m. Eastern

Time (excluding official holidays). During other hours, callers may leave a message for

an agent to call them back. Epiq has promptly responded to each telephone inquiry and

will continue to address potential Class Members’ inquiries.

IV.    THE SETTLEMENT WEBSITE


       14.     In accordance with Paragraph 6 of the Preliminary Approval Order, Epiq,

in coordination with Co-Lead Counsel, designed, implemented and currently maintains a

website dedicated to the Action (www.GreenSkySecuritiesLitigation.com) (the

“Settlement Website”). The address for the Settlement Website is set forth in the Notice,
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           Claim Form, and Summary Notice.

                   15.    The Settlement Website became operational on July 2, 2021, and is

           accessible 24 hours a day, 7 days a week. Among other things, the Settlement website

           includes information regarding the Action and the proposed Settlement, including the

           exclusion, objection, and claim-filing deadlines and the date and time of the Court’s Final

           Approval Hearing. In addition, copies of the Notice, Claim Form, Stipulation,

           Preliminary Approval Order, and other documents related to the Action are posted on the

           Settlement Website and are available for downloading. Epiq will continue operating,

           maintaining, and, as appropriate, updating the Settlement Website until the conclusion of

           this administration.

           V.      REQUESTS FOR EXCLUSION AND OBJECTIONS RECEIVED TO
                   DATE


                   16.    The Notice, Summary Notice, and Settlement Website inform Class

           Members that requests for exclusion from the Class must be received by September 28,

           2021. The Notice directs Class Members who wish to request exclusion to mail their

           request to In re GreenSky Securities Litigation, EXCLUSIONS, P.O. Box 3560, Portland,

           OR 97208-3560. The Notice also sets forth the information that must be included in each

           request for exclusion.

                   17.    As of September 13, 2021, Epiq has received four unique requests for

           exclusion. 1 Epiq has monitored and will continue to monitor all mail delivered to this


       1
         Epiq has received five requests for exclusion. Of the five requests for exclusion received,
three requests for exclusion were received in response to the Notice of Pendency and two requests
for exclusion were received in response to the Notice of Settlement. One of the exclusion requests
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           address. Epiq will submit a supplemental declaration after the September 28, 2021

           deadline addressing any additional requests for exclusion received.

                  18.     The Notice, Summary Notice, and Settlement Website also inform Class

           Members that they may object to the Settlement, the proposed Plan of Allocation, or Co-

           Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation

           Expenses; the objection must be in writing, and filed with the Court and delivered to

           representatives of Co-Lead Counsel and Defendants’ Counsel such that they are received

           on or before September 28, 2021.

                  19.     Through September 13, 2021, Epiq has not been informed of any

           objections to the Settlement, the Plan of Allocation, or Co-Lead Counsel’s motion for

           attorneys’ fees and reimbursement of Litigation Expenses.

                  I declare under penalty of perjury that the foregoing is true and correct.



                  Executed on September 13, 2021.



                                     Alexander Villanova


                                      Alexander
                                                         Digitally signed by Alexander Villanova
                                                         DN: cn=Alexander Villanova, o=Class Action,
                                                         ou=Epiq, email=avillanova@epiqglobal.com,
                                      Villanova          c=US
                                     _________________________________________
                                                         Date: 2021.09.13 14:23:38 -07'00'




received in response to the Notice of Settlement was a duplicate of one received in response to the
Notice of Pendency resulting in four unique requests for exclusion received.
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                      Exhibit A
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                                              UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF NEW YORK

    IN RE GREENSKY SECURITIES LITIGATION                                    Case No. 1:18-cv-11071-AKH
                                                                            CLASS ACTION



                                      NOTICE OF PROPOSED SETTLEMENT
          IF YOU PURCHASED CLASS A COMMON STOCK OF GREENSKY, INC.
         PURSUANT AND/OR TRACEABLE TO THE REGISTRATION STATEMENT
            AND PROSPECTUS ISSUED IN CONNECTION WITH GREENSKY’S
           MAY 25, 2018 INITIAL PUBLIC OFFERING, YOU COULD RECEIVE A
              PAYMENT FROM A PROPOSED CLASS ACTION SETTLEMENT.
    This Notice explains important rights you may have, including your possible receipt of cash from a proposed
    Settlement. Your legal rights will be affected whether or not you act. A Federal Court authorized this Notice.
                                        This is not a solicitation from a lawyer.


                                          PLEASE READ THIS NOTICE CAREFULLY!
         1.        Securities: GreenSky, Inc. (“GreenSky” or the “Company”) Class A common stock purchased
    pursuant and/or traceable to the Registration Statement and Prospectus (the “Offering Documents”) issued in
    connection with GreenSky’s May 25, 2018 initial public offering (the “GreenSky IPO”).1
          2.         Description of the Action and the Class: The proposed Settlement resolves class action litigation
    over allegations that GreenSky, certain of its officers and directors, and its underwriters violated the Securities
    Act of 1933 (the “Securities Act”) by making material misstatements and omissions in the Offering Documents for
    the GreenSky IPO. Northeast Carpenters Annuity Fund (“Northeast Carpenters”), El Paso Firemen & Policemen’s
    Pension Fund (“El Paso”), and the Employees’ Retirement System of the City of Baton Rouge and Parish of East
    Baton Rouge (“CPERS”) (collectively, “Lead Plaintiffs”) have been designated by the Court as “Lead Plaintiffs”
    in the Action. Lead Plaintiffs’ counsel, Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) and Scott + Scott
    Attorneys at Law LLP (“Scott + Scott”), have been appointed by the Court to serve as “Co-Lead Counsel.” The Court
    has certified the “Class” to consist of:
              All persons and entities who purchased GreenSky Class A common stock pursuant and/or traceable
              to the Registration Statement and Prospectus (the “Offering Documents”) issued in connection with
              GreenSky’s May 25, 2018 initial public offering (the “GreenSky IPO”) and were damaged thereby.
              Excluded from the Class are Defendants; the officers and directors of the Company; members of
              their immediate families; and their legal representatives, heirs, successors or assigns and any entity in
              which Defendants have or had a controlling interest; provided, however, that any “Investment Vehicle”
              shall not be excluded from the Class. Investment Vehicle means any investment company or pooled
              investment fund, including, but not limited to, mutual fund families, exchange traded funds, fund of
              funds, and hedge funds, in which any of the Underwriter Defendants have, has, or may have a direct or
              indirect interest, or as to which its affiliates may act as an investment advisor, but in which any of the
              Underwriter Defendants alone or together with its respective affiliates is not a majority owner or does
              not hold a majority beneficial interest.
          3.         Statement of Class’s Recovery: Subject to Court approval, and as described more fully in ¶¶ 24–38
    below, Lead Plaintiffs, on behalf of themselves and the Class, have agreed to settle all Released Claims against the
    Released Defendants in exchange for a settlement payment of $27,500,000.00 in cash (the “Settlement Amount”) to
    be deposited into an interest-bearing escrow account (the “Settlement Fund”) and certain other terms. The Settlement
    Fund less all Taxes, Notice and Administration Costs, and attorneys’ fees and Litigation Expenses that may be

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               This Notice incorporates by reference the definitions in the Stipulation and Agreement of Settlement dated May 24, 2021
    (“Stipulation”), and all capitalized terms used, but not defined, herein shall have the same meanings as in the Stipulation. A copy of the
    Stipulation can be obtained at www.GreenSkySecuritiesLitigation.com.

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    awarded by the Court to Co-Lead Counsel and Lead Plaintiffs (the “Net Settlement Fund”) will be distributed to
    members of the Class in accordance with a plan of allocation (the “Plan of Allocation”) that is subject to approval
    by the Court. The proposed Plan of Allocation is included in this Notice, and may be modified by the Court without
    further notice.
          4.        Statement of Estimated Average Amount of Recovery: Your recovery will depend on the number
    of shares of GreenSky common stock that you purchased, the price(s) at which those shares were purchased, the
    timing of your purchases, and any sales. Depending on the number of eligible shares of common stock that participate
    in the Settlement, and when and at what price that common stock was purchased and sold, the estimated average
    recovery per share of GreenSky common stock will be approximately $0.28 before deduction from the Settlement
    Fund of Court-approved fees and expenses and any other awards or payments.
           5.        Statement of the Parties’ Position on Damages: Defendants deny all claims of wrongdoing and
    deny that they are liable to Lead Plaintiffs and/or the Class or that Lead Plaintiffs or other members of the Class
    suffered any injury. Moreover, the Settling Parties do not agree on the amount of damages that might be recoverable
    if liability could be proven. The issues on which the Settling Parties disagree include, but are not limited to:
    (1) whether the statements made were material, false, or misleading for all the reasons alleged by Lead Plaintiffs;
    (2) whether Defendants are otherwise liable under the securities laws for those statements; and (3) whether all or
    part of the damages allegedly suffered by Lead Plaintiffs or members of the Class were caused by the alleged
    misstatements.
           6.        Statement of Attorneys’ Fees and Litigation Expenses Sought: Co-Lead Counsel has litigated
    this Action on a contingent basis. They have conducted this Action and advanced the Litigation Expenses with the
    expectation that if they were successful in recovering money for the Class, they would receive fees and be reimbursed
    for their expenses from the Settlement Fund. This is customary in this type of litigation. Prior to final distribution
    of the Net Settlement Fund, Co-Lead Counsel will apply to the Court for an award of attorneys’ fees from the
    Settlement Fund in an amount not to exceed 25% of the Settlement Fund (or $6,875,000.00), plus interest earned at
    the same rate and for the same period as earned by the Settlement Fund. In addition, Co-Lead Counsel also will apply
    for the reimbursement of Litigation Expenses paid or incurred in connection with the prosecution and resolution of
    the Action in an amount not to exceed $250,000.00 plus interest earned at the same rate and for the same period as
    earned by the Settlement Fund. Litigation Expenses may include reimbursement of the expenses of Lead Plaintiffs
    in accordance with 15 U.S.C. § 77z-1(a)(4). If the Court approves Co-Lead Counsel’s fee and expense application, the
    estimated average cost per share of common stock is $0.07.
          7.       Identification of Attorneys’ Representatives: Lead Plaintiffs and the Class are being represented
    by Cohen Milstein and Scott + Scott. Any questions regarding the Settlement should be directed to Steven J.
    Toll, Cohen Milstein Sellers & Toll PLLC, 1100 New York Avenue N.W., Suite 500, Washington, D.C. 20005,
    (202) 408-4600, stoll@cohenmilstein.com or Max Schwartz, Scott + Scott Attorneys at Law LLP, 230 Park Avenue,
    17th Floor, New York, NY 10169, (212) 223-6444, mschwartz@scott-scott.com.

                            YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT
      REMAIN A MEMBER                This is the only way to receive a payment. If you wish to obtain a payment as
      OF THE CLASS AND               a member of the Class, you will need to file a proof of claim form (the “Proof
      FILE A PROOF OF                of Claim Form”), which is included with this Notice, postmarked no later than
      CLAIM FORM.                    October 9, 2021.

      EXCLUDE YOURSELF               If you exclude yourself from the Class, you will receive no payment pursuant to
      FROM THE CLASS                 this Settlement. You may be able to seek recovery against the Defendants or other
      BY SUBMITTING A                Released Defendants through other litigation at your own expense.
      WRITTEN REQUEST
      FOR EXCLUSION SO
      THAT IT IS RECEIVED
      NO LATER THAN
      SEPTEMBER 28, 2021.




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      OBJECT TO THE                                 Write to the Court and explain why you do not like the Settlement, the requested
      SETTLEMENT BY                                 Judgment to approve the Settlement; the proposed Plan of Allocation, or the
      SUBMITTING A                                  request for attorneys’ fees and reimbursement of Litigation Expenses. You cannot
      WRITTEN OBJECTION                             object to the Settlement unless you are a member of the Class and do not validly
      SO THAT IT                                    exclude yourself.
      IS RECEIVED NO
      LATER THAN
      SEPTEMBER 28, 2021.

      GO TO THE                                     You may attend the hearing to speak in Court about the fairness of the Settlement,
      FINAL APPROVAL                                the requested Judgment to approve the Settlement, the proposed Plan of Allocation,
      HEARING ON                                    or Co-Lead Counsel’s request for attorneys’ fees and reimbursement of Litigation
      OCTOBER 19, 2021,                             Expenses. You cannot object to the Settlement unless you are a member of the
      AT 10:00 A.M., AND                            Class and do not validly exclude yourself.
      FILE A NOTICE
      OF INTENTION TO
      APPEAR SO THAT IT
      IS RECEIVED NO
      LATER THAN
      SEPTEMBER 28, 2021.

      DO NOTHING.                                   Receive no payment, remain a Class Member, give up your rights to seek recovery
                                                    against the Defendants and the other Released Defendants through other litigation
                                                    and be bound by the Judgment entered by the Court if it approves the Settlement,
                                                    including the release of the Released Claims.


                                                               WHAT THIS NOTICE CONTAINS
    Your legal rights and options in the Settlement............................................................................................................. 2
    What this notice contains .............................................................................................................................................. 3
    Why did I get this notice?.............................................................................................................................................. 4
    What is this case about?................................................................................................................................................. 5
    What are Lead Plaintiffs’ reasons for the Settlement?................................................................................................... 5
    What might happen if there were no settlement?.......................................................................................................... 6
    How do I know if I am affected by the Settlement?...................................................................................................... 6
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                                              WHY DID I GET THIS NOTICE?
          8.        This Notice is being sent to you pursuant to an order of the United States District Court for the
    Southern District of New York (the “Court”) because you or someone in your family may have purchased GreenSky
    common stock as described above. The Court has directed us to send you this Notice because, as a potential Class
    Member, you have a right to know about your options before the Court rules on the proposed Settlement of this case.
    Additionally, you have the right to understand how a class action lawsuit may generally affect your legal rights.
          9.        A class action is a type of lawsuit in which the claims of a number of individuals are resolved together,
    thus providing the class members with both consistency and efficiency. In a class action lawsuit, the Court selects
    one or more people, known as class representatives, to sue on behalf of all people with similar claims, commonly
    known as the class or the class members. Once the class is certified, the Court’s resolution of all issues, whether
    or not favorable, is binding on the class, except for any persons who choose to exclude themselves from the class.
    (For more information on excluding yourself from the Class, please read “What if I do not want to be a part of the
    Settlement? How do I exclude myself?” located below.) In the Action, the Court has directed that Lead Plaintiffs and
    Co-Lead Counsel have primary responsibility for prosecuting all claims against Defendants on behalf of investors
    who purchased GreenSky common stock.
          10.        The Court in charge of this case is the United States District Court for the Southern District of New
    York, and the case is known as In re GreenSky Securities Litigation, Case No. 1:18-cv-11071- AKH (S.D.N.Y.) (the
    “Action”). The Judge presiding over this case is the Honorable Alvin K. Hellerstein, United States Senior District
    Judge. The person who is suing is called the plaintiff, and those who are being sued are called defendants. In this
    case, Lead Plaintiffs are Northeast Carpenters Annuity Fund, El Paso Firemen & Policemen’s Pension Fund, and
    the Employees’ Retirement System of the City of Baton Rouge and Parish of East Baton Rouge, and the Defendants
    consist of GreenSky; certain of GreenSky’s officers and directors, David Zalik, Robert Partlow, Joel Babbit, Gerald
    Benjamin, John Flynn, Gregg Freishtat, Nigel Morris and Robert Sheft (the individuals together with GreenSky, the
    “GreenSky Defendants”); and GreenSky’s underwriters Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC,
    Morgan Stanley & Co. LLC, Citigroup Global Markets Inc., Credit Suisse Securities (USA) LLC, Merrill Lynch,
    Pierce, Fenner & Smith Incorporated, SunTrust Robinson Humphrey, Inc. (now known as Truist Securities, Inc.),
    Raymond James & Associates, Inc., Sandler O’Neill & Partners, L.P., Fifth Third Securities, Inc., and Guggenheim
    Securities, LLC (the “Underwriter Defendants”). The proposed Settlement is with all the foregoing Defendants, for
    the benefit of themselves and the Released Defendants.
           11.       This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who is
    eligible for them, and how to get them. The purpose of this Notice is to inform you of this case, that it is a proposed
    class action, how you might be affected, how to object, if you wish, to the proposed Settlement and/or the other
    matters to be considered by the Court at the Final Approval Hearing (identified below), and how to exclude yourself
    from the proposed Settlement and the Class if you wish to do so. It also is being sent to inform you of the terms of the
    proposed Settlement, and of a hearing to be held by the Court to consider the fairness, reasonableness and adequacy
    of the proposed Settlement and the other matters identified below (the “Final Approval Hearing”).
         12.       The Final Approval Hearing will be held on October 19, 2021, at 10:00 a.m., before the Honorable
    Alvin K. Hellerstein at the United States District Court for the Southern District of New York, Daniel Patrick
    Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York, New York 10007, to determine
               a. whether the proposed settlement of the Action on the terms and conditions provided for in the
                  Stipulation is fair, reasonable, adequate and in the best interests of the Class and should be approved
                  by the Court;
               b. whether a judgment should be entered, as proposed in the Settlement, which, among other things,
                  would dismiss the Action against Defendants with prejudice and release, on behalf of the Class, the
                  Released Claims against the Released Defendants and the Released Defendants’ Claims against the
                  Released Plaintiffs (the “Judgment”);
               c. whether the proposed Plan of Allocation is reasonable and should be approved by the Court; and
               d. whether Co-Lead Counsel’s request for an award of attorneys’ fees and reimbursement of Litigation
                  Expenses should be approved by the Court.
           13.      This Notice does not express any opinion by the Court concerning the merits of any claim in the
    Action, and the Court still has to decide whether to approve the Settlement. Any distribution will not be paid until
    after the completion of all claims processing. Please be patient.


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                                              WHAT IS THIS CASE ABOUT?
         14.       The initial complaint in this Action was filed on November 27, 2018. On March 29, 2019, the Court
    appointed Northeast Carpenters, El Paso, and CPERS as Lead Plaintiffs and Cohen Milstein and Scott + Scott as
    Co-Lead Counsel.
           15.         Lead Plaintiffs filed their Consolidated Second Amended Complaint for Violations of the Federal
    Securities Laws (the “Complaint”) on June 26, 2019. The Complaint alleges that Defendants violated the Securities
    Act of 1933 by making material misstatements and omissions in the Offering Documents for the GreenSky IPO.
    Defendants deny each and all of Lead Plaintiffs’ allegations. Defendants contend that they did not make material
    misstatements or omissions and that they disclosed all information required to be disclosed by the federal securities
    laws. Among other things, Lead Plaintiffs allege that in the Offering Documents, Defendants did not disclose the
    financial impact of the Company’s decision to shift away from one of its most profitable business segments. Lead
    Plaintiffs further allege that when the true facts regarding the alleged misstatements and omissions were revealed,
    artificial inflation was removed from the price of Greensky common stock issued in the IPO.
          16.        The Settling Parties have vigorously litigated this case for more than two years. The Settling Parties
    briefed and argued Defendants’ motions to dismiss the Complaint. After the Court denied the motions to dismiss,
    extensive class-related discovery ensued, and the Court ultimately certified the Class on June 1, 2020. The parties
    then engaged in extensive fact discovery which included the production of over 4.4 million pages of documents
    by Defendants and six depositions, including of Lead Plaintiffs and certain of Defendants’ employees. Separately,
    Lead Plaintiffs served document and deposition subpoenas on non-parties, including PricewaterhouseCoopers
    (“PwC”), GreenSky’s independent auditor, and FT Partners, an investment banking firm that provided GreenSky
    with consulting services in connection with the GreenSky IPO, resulting in the production of nearly one million
    additional pages of documents. Defendants further served document and deposition subpoenas on additional
    non-parties, including each of Lead Plaintiffs’ investment managers and investment consultants.
           17.       During the course of the Action, the Settling Parties engaged a neutral third-party mediator, Robert
    A. Meyer, Esq., and held settlement discussions. Co-Lead Counsel met with the mediator and Defendants’ counsel
    via videoconference and teleconference on multiple occasions over the course of six months. On April 6, 2021, the
    Settling Parties agreed in principle to settle the Action in return for a cash payment of $27,500,000.00 for the benefit
    of the Class, subject to approval by the Court.

                        WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?
           18.       Lead Plaintiffs and Co-Lead Counsel believe that the claims asserted against the Defendants have
    merit. Lead Plaintiffs and Co-Lead Counsel recognize, however, that there are significant risks with respect to
    proving liability and damages in addition to the expense and length of continued proceedings necessary to pursue
    their claims against the Defendants through continued discovery, trial and appeals. Lead Plaintiffs and Co-Lead
    Counsel have, accordingly, considered the uncertain outcome of trial and any appeals following a trial in complex
    lawsuits like this one.
           19.        In light of the risks of continued litigation, Lead Plaintiffs and Co-Lead Counsel believe that the
    proposed Settlement is fair, reasonable and adequate, and in the best interests of the Class. Lead Plaintiffs and
    Co-Lead Counsel also believe that the Settlement provides a substantial benefit now, namely Defendants’ payment
    (as described below) of $27,500,000.00 in cash (less the various deductions described in this Notice), as compared to
    the risk that the claims would produce a similar, smaller, or no recovery after summary judgment, trial and appeals,
    possibly years in the future.
          20.        Defendants have denied and continue to deny each and all of the claims alleged by Lead Plaintiffs
    in the Action and affirm that they have acted properly and lawfully at all times. Defendants have expressly denied
    and continue to deny all charges of wrongdoing or liability against them arising out of any and all of the conduct,
    statements, acts or omissions alleged, or that could have been alleged, in the Action. Defendants have, however, taken
    into account the uncertainty and risks inherent in any litigation, especially in a complex case such as this. Defendants
    have concluded that further conduct of the Action would be protracted and expensive, and that it is desirable that the
    Action be fully and finally settled in the manner and upon the terms and conditions set forth in the Stipulation.




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                                 WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
          21.        If there was no Settlement and Lead Plaintiffs failed to establish any essential legal or factual element
    of their claims against Defendants, neither Lead Plaintiffs nor members of the Class would recover anything from
    Defendants. Also, if Defendants were successful in proving any of their defenses, the Class likely would recover
    substantially less than the amount provided in the Settlement, or nothing at all. On the other hand, it is possible that
    if Lead Plaintiffs pursued their claims, the Class could obtain more than the Settlement Amount.

                                 HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
          22.      If you are a member of the Class, you are subject to the Settlement unless you timely request to be
    excluded. The Class consists of:
              All persons and entities who purchased GreenSky Class A common stock pursuant and/or traceable to the
              Registration Statement and Prospectus (the “Offering Documents”) issued in connection with GreenSky’s
              May 25, 2018 initial public offering (the “GreenSky IPO”) and were damaged thereby. Excluded from the
              Class are Defendants; the officers and directors of the Company; members of their immediate families;
              and their legal representatives, heirs, successors or assigns and any entity in which Defendants have or had
              a controlling interest; provided, however, that any “Investment Vehicle” shall not be excluded from the
              Class. Investment Vehicle means any investment company or pooled investment fund, including, but not
              limited to, mutual fund families, exchange traded funds, fund of funds, and hedge funds, in which any of
              the Underwriter Defendants have, has, or may have a direct or indirect interest, or as to which its affiliates
              may act as an investment advisor, but in which any of the Underwriter Defendants alone or together with
              its respective affiliates is not a majority owner or does not hold a majority beneficial interest.
          23.       Receipt of this Notice does not necessarily mean that you are a Class Member or that you are eligible
    to receive proceeds from the Settlement. If you wish to participate in the Settlement, you must submit the enclosed
    Proof of Claim Form postmarked no later than October 9, 2021.

                            HOW MUCH WILL MY PAYMENT BE AND WHEN WILL I RECEIVE IT?
                                               PROPOSED PLAN OF ALLOCATION
          24.        The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund among
    Authorized Claimants who allegedly suffered economic losses as a proximate result of the alleged violations of
    the federal securities laws. The Plan of Allocation, however, is not a formal damages analysis, and the calculations
    made pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative of, the amounts that Class
    Members might have been able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
    intended to be estimates of the amounts that will be paid to Authorized Claimants. The computations under the Plan
    of Allocation are only a method to weigh the claims of Authorized Claimants against one another for the purposes of
    making pro rata allocations of the Net Settlement Fund.
          25.        Claims asserted in the Action under Section 11 of the Securities Act serve as the basis for the
    calculation of the Recognized Losses under the Plan of Allocation. Section 11 of the Securities Act provides a
    statutory formula for the calculation of damages under that provision. The formulas stated below, which were
    developed by Lead Plaintiffs’ damages consultant, generally track the statutory formula.
                                          CALCULATION OF RECOGNIZED LOSSES
          26.        A “Recognized Loss” will be calculated as set forth for each purchase of GreenSky Class A common
    stock from May 24, 2018, through November 12, 2018 (the “Relevant Period”), that is listed in the Proof of Claim
    Form and for which adequate documentation is provided. To the extent that the calculation of a claimant’s Recognized
    Loss results in a negative number, that number shall be set to zero.
          27.      For each share of GreenSky Class A common stock purchased from May 24, 2018, through and
    including November 12, 2018, and:
                    a. sold before the opening of trading on November 12, 2018, the Recognized Loss for each such share
                       shall be the purchase price (not to exceed the issue price at the offering of $23.00) minus the sale price.



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               b. sold after the opening of trading on November 12, 2018, through the close of trading on
                  August 5, 2019, the Recognized Loss for each such share shall be the purchase price (not to exceed the
                  issue price at the offering of $23.00) minus the sale price (not to be less than $9.92, the closing share
                  price on November 12, 2018).
               c. Retained through the close of trading on August 5, 2019, the Recognized Loss for each such share
                  shall be the purchase price (not to exceed the issue price at the offering of $23.00) minus $9.92, the
                  closing share price on November 12, 2018.
                                                ADDITIONAL PROVISIONS
          28.       Subject to the following paragraphs, an Authorized Claimant’s Recognized Claim shall be the sum
    of an Authorized Claimant’s Recognized Losses.
          29.        Purchases and sales of GreenSky Class A common stock shall be deemed to have occurred on the
    “contract” or “trade” date as opposed to the “settlement” or “payment” date. The receipt or grant by gift, inheritance
    or operation of law of GreenSky Class A common stock during the Relevant Period shall not be deemed a purchase
    of GreenSky Class A common stock for purposes of the calculation of an Authorized Claimant’s Recognized Claim,
    nor shall the receipt or grant be deemed an assignment of any claim relating to the purchase of such GreenSky Class
    A common stock unless (i) the donor or decedent purchased such GreenSky Class A common stock during the
    Relevant Period; (ii) no Proof of Claim Form was submitted by or on behalf of the donor, on behalf of the decedent,
    or by anyone else with respect to such GreenSky Class A common stock; and (iii) it is specifically so provided in the
    instrument of gift or assignment.
          30.       In the event that a Class Member has multiple transactions in GreenSky Class A common stock
    during the Relevant Period, all purchases and sales shall be matched on a first-in, first-out (“FIFO”) basis. Relevant
    Period sales will be matched first against any holdings at the beginning of the Relevant Period, and then against
    purchases in chronological order, beginning with the earliest purchase made during the Relevant Period.
           31.       The Recognized Loss on any portion of a purchase that matches against (or “covers”) a “short sale”
    is zero. The Recognized Loss on a “short sale” that is not covered by a purchase is also zero. In the event that a
    claimant has an opening short position in GreenSky Class A common stock at the start of the Relevant Period, the
    earliest purchases shall be matched against such an opening short position in accordance with the FIFO matching
    described above, and any portion of such purchases that cover such short sales will not be entitled to recovery. In the
    event that a claimant newly establishes a short position during the Relevant Period, the earliest subsequent Relevant
    Period purchase shall be matched against such short position on a FIFO basis and will not be entitled to a recovery.
           32.      GreenSky Class A common stock is the only security eligible for recovery under the Plan of Allocation.
    Option contracts to purchase or sell GreenSky Class A common stock are not securities eligible to participate in the
    Settlement. With respect to GreenSky Class A common stock purchased or sold through the exercise of an option,
    the purchase/sale date of such shares is the exercise date of the option and the purchase/sale price is the exercise price
    of the option.
          33.       Recognized Losses will be used solely to calculate the relative amount of the Net Settlement Fund
    to be apportioned to each Authorized Claimant and do not reflect the actual amount an Authorized Claimant may
    expect to recover from the Net Settlement Fund.
           34.        If the sum total of Recognized Losses of all Authorized Claimants who are entitled to receive
    payment out of the Net Settlement Fund is greater than the Net Settlement Fund, each Authorized Claimant shall
    receive his, her, or its pro rata share of the Net Settlement Fund. The pro rata share shall be the Authorized Claimant’s
    Recognized Loss divided by the total Recognized Losses of all Authorized Claimants, multiplied by the total amount
    in the Net Settlement Fund.
         35.        If the Net Settlement Fund exceeds the sum total amount of the Recognized Losses of all Authorized
    Claimants entitled to receive payment out of the Net Settlement Fund, the excess amount in the Net Settlement
    Fund shall be distributed pro rata to all Authorized Claimants entitled to receive payment (i.e., each Authorized
    Claimant will also receive the Authorized Claimant’s Recognized Loss divided by the total Recognized Losses of all
    Authorized Claimants, multiplied by the excess amount in the Net Settlement Fund).
           36.       The Net Settlement Fund will be allocated among all Authorized Claimants whose prorated payment
    is $10.00 or greater. If the prorated payment to any Authorized Claimant calculates to less than $10.00, it will not be
    included in the calculation and no distribution will be made to that Authorized Claimant.



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          37.        Payment pursuant to the Plan of Allocation shall be conclusive against all Authorized Claimants. No
    person shall have any claim based on distributions made substantially in accordance with the Settlement, the Plan
    of Allocation, or further order(s) of the Court, against Co-Lead Counsel, Lead Plaintiffs, their damages consultant,
    Claims Administrator, or other agent designated by Co-Lead Counsel, Class Members, Defendants, Defendants’
    Counsel, or the Released Defendants. All Class Members who fail to timely submit an acceptable Proof of Claim
    Form by the deadline set by the Court, or such other deadline as may be ordered by the Court, or otherwise allowed,
    shall be forever barred from receiving any payments pursuant to the Settlement, but will in all other respects be
    subject to and bound by the terms of the Settlement, including the release of the Released Claims against the Released
    Defendants provided for therein and in the Judgment.
          38.       The Plan of Allocation is a matter separate and apart from the proposed Settlement, and any decision
    by the Court concerning the Plan of Allocation shall not affect the validity or finality of the proposed Settlement.
    The Court may approve the Plan of Allocation with or without modifications agreed to among the Settling Parties,
    or another plan of allocation, without further notice to Class Members. Any orders regarding a modification of the
    Plan of Allocation will be posted to the Claims Administrator’s website, www.GreenSkySecuritiesLitigation.com.

                      WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE SETTLEMENT?
          39.         If the Settlement is approved, the Court will enter the Judgment. The Judgment will dismiss with
    prejudice the claims against Defendants in the Action and will provide that, upon the Effective Date of the Settlement,
    Lead Plaintiffs and each Class Member, on behalf of themselves, their heirs, executors, administrators, predecessors,
    successors and assigns, and any other person claiming by, through or on behalf of them, shall be deemed by operation
    of law to (a) have released, waived, discharged and dismissed each and every of the Released Claims against the
    Released Defendants; (b) forever be enjoined from commencing, instituting or prosecuting any or all of the Released
    Claims against any of the Released Defendants; and (c) forever be enjoined from instituting, continuing, maintaining
    or asserting, either directly or indirectly, whether in the United States or elsewhere, on their own behalf or on behalf
    of any class or any other person, any action, suit, cause of action, claim or demand against any person or entity who
    may claim any form of contribution or indemnity from any of the Released Defendants in respect of any Released
    Claim or any matter related thereto.
           40.      The Judgment will also provide that, upon the Effective Date of the Settlement, each of the
    Defendants, on behalf of themselves, their heirs, executors, administrators, predecessors, successors and
    assigns, and any other person claiming by, through or on behalf of them, shall be deemed by operation of law to
    (a) have released, waived, discharged and dismissed each and every of the Released Defendants’ Claims against
    the Released Plaintiffs; (b) forever be enjoined from commencing, instituting or prosecuting any or all of the
    Released Defendants’ Claims against any of the Released Plaintiffs; and (c) forever be enjoined from instituting,
    continuing, maintaining or asserting, either directly or indirectly, whether in the United States or elsewhere, on
    their own behalf or on behalf of any class or any other person, any action, suit, cause of action, claim or demand
    against any person or entity who may claim any form of contribution or indemnity in respect of any Released
    Defendants’ Claim or any matter related thereto.
           41.        “Released Claims” means all claims, demands, losses, rights, and causes of action of every nature
    and description, whether known or unknown, that (a) were or could have been asserted in the Complaint, (b) could
    have been asserted in this Action, or (c) could in the future be asserted in any forum whether arising under federal,
    state, common or foreign law, by Lead Plaintiffs or any other member of the Class, or their successors, assigns,
    executors, administrators, representatives, attorneys, and agents in their capacities as such, which (i) arise out of, are
    based upon, or relate in any way to any of the allegations, acts, transactions, facts, events, matters or occurrences,
    representations or omissions involved, set forth, alleged, or referred to in the Complaint or which could have been
    alleged in this Action, and (ii) arise out of, are based upon, or relate in any way to the purchase, acquisition, holding,
    sale, or disposition of any GreenSky securities.
          42.       “Released Defendants” means Defendants and any and all of their respective immediate family
    members, parent entities, associates, affiliates or subsidiaries, and each and all of their respective past, present
    or future officers, directors, stockholders, agents, representatives, employees, attorneys, financial or investment
    advisors, advisors, consultants, trustees, accountants, auditors, insurers, coinsurers and reinsurers, heirs, executors,
    general or limited partnerships, personal or legal representatives, estates, trusts, administrators, predecessors,
    successors and assigns.
          43.        “Released Defendants’ Claims” means any claims relating to the institution, prosecution, or
    settlement of this Action.




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           44.       “Released Plaintiffs” means Lead Plaintiffs and the Class and any and all of their respective
    immediate family members, parent entities, associates, affiliates or subsidiaries, and each and all of their respective
    past, present or future officers, directors, stockholders, agents, representatives, employees, attorneys, financial
    or investment advisors, advisors, consultants, trustees, accountants, auditors, insurers, coinsurers and reinsurers,
    heirs, executors, general or limited partnerships, personal or legal representatives, estates, trusts, administrators,
    predecessors, successors and assigns.
           45.        “Unknown Claims” means any and all Released Claims that Lead Plaintiffs or any Class Member
    does not know or suspect to exist in his, her or its favor at the time of the release of the Released Defendants, and any
    of the Released Defendants’ Claims which Defendants do not know or suspect to exist in his, her or its favor at the time
    of the release of the Released Plaintiffs, which if known by him, her or it might have affected his, her or its decision(s)
    with respect to the Settlement. With respect to any and all Released Claims and Released Defendants’ Claims, Lead
    Plaintiffs and Defendants stipulate and agree that upon the Effective Date, Lead Plaintiffs and Defendants shall
    each, for themselves and all persons claiming by, through, or on behalf of them, expressly waive, and each Class
    Member shall be deemed to have waived, and by operation of the Judgment shall have expressly waived, any and
    all provisions, rights and benefits conferred by any law of any state or territory of the United States, or principle of
    common law, that is similar, comparable, or equivalent to Cal. Civ. Code § 1542, which provides:
              A general release does not extend to claims which the creditor does not know or suspect to exist in his or
              her favor at the time of executing the release, which if known by him or her must have materially affected
              his or her settlement with the debtor.
    Lead Plaintiffs and Defendants acknowledge, and Class Members and Defendants’ successors and assigns and
    any persons or entities claiming through or on behalf of Defendants shall, by operation of law, be deemed to have
    acknowledged, that the inclusion of “Unknown Claims” in the definition of Released Claims and Released Defendants’
    Claims was separately bargained for and was a material element of this Settlement.

                            WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?
           46.        Co-Lead Counsel has not received any payment for its services in pursuing claims against
    Defendants on behalf of the Class, nor has Co-Lead Counsel been reimbursed for its out-of-pocket expenses. Before
    final approval of the Settlement, Co-Lead Counsel intends to apply to the Court for an award of attorneys’ fees from
    the Settlement Fund in an amount not to exceed 25% of the Settlement Fund (or $6,875,000.00), plus interest at the
    same rate and for the same time period as earned by the Settlement Fund. At the same time, Co-Lead Counsel also
    intends to apply for the reimbursement of certain Litigation Expenses in an amount not to exceed $250,000.00, plus
    interest at the same rate and for the same time period as earned by the Settlement Fund. Litigation Expenses may
    include reimbursements for, among other things, litigation-related expenses of Lead Plaintiffs in accordance with
    15 U.S.C. § 77z-1(a)(4). The sums that may be approved by the Court will be paid from the Settlement Fund. The
    Court’s approval of Co-Lead Counsel’s application for an award of attorneys’ fees and Litigation expenses, in whole
    or part, and any determination by any appellate court with respect thereto, is a matter separate and apart from
    the Court’s consideration of the fairness, reasonableness and adequacy of the Settlement and will not affect the
    Settlement, if approved. Class Members are not personally liable for the payment of any sums awarded by the Court
    or any appellate court with respect to Co-Lead Counsel’s application for attorneys’ fees and Litigation Expenses.

                                       HOW DO I PARTICIPATE IN THE SETTLEMENT?
           47.        If you purchased GreenSky common stock as described above, and you are not excluded from the
    definition of the Class and you do not timely and properly request to exclude yourself from the Class in the manner
    provided in this Notice, then you are a member of the Class and you will be bound by the proposed Settlement if the
    Court approves it, and by any judgment or determination of the Court affecting the Class, including the Judgment
    and the releases therein. If you are a member of the Class, you must submit a Proof of Claim Form and supporting
    documentation to establish your entitlement to share in the Settlement. A Proof of Claim Form is included with this
    Notice, or you may go to the website maintained by the Claims Administrator for the Settlement to request that a
    Proof of Claim Form be mailed to you. The website is www.GreenSkySecuritiesLitigation.com. You may also request
    a Proof of Claim Form by calling toll-free (855) 917-3539 or emailing info@GreenSkySecuritiesLitigation.com.
    Copies of the Proof of Claim Form can also be downloaded from Co-Lead Counsel’s website at www.cohenmilstein.com. Those
    who timely and properly exclude themselves from the Class, and those who do not submit timely and valid Proof of
    Claim Forms with adequate supporting documentation, will not be eligible to share in the Settlement. Please retain
    all records of your ownership of, or transactions in, GreenSky common stock, as they may be needed to document
    your claim. Do not submit original documentation with your Proof of Claim Form—submit copies only—because
    materials submitted will not be returned.

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          48.        As a Class Member, you are represented by Lead Plaintiffs and Co-Lead Counsel unless you enter
    an appearance through counsel of your own choice at your own expense. You are not required to retain your own
    counsel, but if you choose to do so, such counsel must file a notice of appearance on your behalf and must serve
    copies of his or her notice of appearance on the attorneys listed in the section below entitled, “When and where will
    the Court decide whether to approve the Settlement?”
          49.        If you do not wish to remain a Class Member, you may exclude yourself from the Class by
    following the instructions in the section below entitled, “What if I do not want to be a part of the Settlement? How
    do I exclude myself?”
          50.        If you wish to object to the Settlement or any of its terms, the proposed Judgment, the proposed Plan
    of Allocation, or Co-Lead Counsel’s application for attorneys’ fees and reimbursement of Litigation Expenses, and
    if you do not exclude yourself from the Class, you may present your objections by following the instructions in the
    section below entitled, “When and where will the Court decide whether to approve the Settlement?”

                           WHAT IF I DO NOT WANT TO BE PART OF THE SETTLEMENT?
           51.        Each Class Member will be bound by all determinations and judgments, whether favorable or
    unfavorable, concerning the Settlement, if approved by the Court, unless such person or entity mails, by first class
    mail (or its equivalent outside the U.S.), or otherwise delivers a written request for exclusion from the Class, addressed
    to In re GreenSky Securities Litigation, P.O. Box 3560, Portland, OR 97208- 3560. The written request for exclusion
    must be received by no later than September 28, 2021. Each person’s or entity’s written request for exclusion must
    clearly provide their (i) name, (ii) address, (iii) telephone number, (iv) number of shares of GreenSky common stock
    purchased or sold, (v) prices or other consideration paid or received for such shares(s), (vi) the date of each purchase
    or sale transaction, and (vii) a statement that the Class Member wishes to be excluded from the Class in In re
    GreenSky Securities Litigation, Case No. 1:18-cv-11071-AKH (S.D.N.Y.). Each written request for exclusion must be
    signed by the person or entity requesting to be excluded. Requests for exclusion will not be valid if they do not include
    the information set forth above and are not received by the date stated above, unless the Court otherwise determines.
    Please keep a copy of everything you send by mail, in case it is lost during shipping.
          52.       If a person or entity requests to be excluded from the Class, that person or entity will not receive any
    benefit provided for in the Settlement.

           WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?
          53.       If you do not wish to object in person to the proposed Settlement, Judgment, Plan of Allocation
    and/or Co-Lead Counsel’s application for an award of attorneys’ fees and Litigation Expenses, you do not need to
    attend the Final Approval Hearing. You can object to or participate in the Settlement without attending the Final
    Approval Hearing.
           54.       The Final Approval Hearing will be held on October 19, 2021, at 10:00 a.m., before the Honorable
    Alvin K. Hellerstein at the United States District Court for the Southern District of New York, Daniel Patrick
    Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York, New York 10007. The Court reserves
    the right to approve the Settlement, enter the Judgment, approve the Plan of Allocation or grant Co-Lead Counsel’s
    request for attorneys’ fees and Litigation Expenses at or after the Final Approval Hearing without further notice to
    Class Members.
           55.       Any Class Member who does not timely and properly request exclusion from the Class in accordance
    with ¶¶ 51–52 above may object to the proposed Settlement, Judgment, Plan of Allocation, or Co-Lead Counsel’s
    application for an award of attorneys’ fees and Litigation Expenses. Objections must be in writing. You must file any
    written objection with the Clerk’s Office at the United States District Court for the Southern District of New York at
    the address set forth below. You must also serve the written objection on Co-Lead Counsel and Defendants’ Counsel
    at the addresses set forth below. You must serve the written objection so that the Court and all counsel receive the
    objections on or before September 28, 2021.




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    Clerk’s Office:                                                U.S. District Court for the Southern District
                                                                   of New York
                                                                   500 Pearl Street
                                                                   New York, NY 10007

    Co-Lead Counsel for the Class:                                 Cohen Milstein Sellers & Toll PLLC
                                                                   1100 New York Avenue N.W., Suite 500
                                                                   Washington, D.C. 20005
                                                                   Attn: Steven J. Toll
                                                                   stoll@cohenmilstein.com
                                                                   Scott + Scott Attorneys at Law LLP
                                                                   230 Park Avenue, 17th Floor
                                                                   New York, NY 10169
                                                                   Attn: Max R. Schwartz
                                                                   mschwartz@scott-scott.com
    Counsel to the GreenSky Defendants:                            Cravath, Swaine & Moore LLP
                                                                   825 Eighth Avenue
                                                                   New York, NY 10019
                                                                   Attn: Karin A. DeMasi
                                                                   kdemasi@cravath.com
    Counsel for Robert Sheft, Joel Babbit, Gregg                   Cravath, Swaine & Moore LLP
    Freishtat, John Flynn or Nigel Morris:                         825 Eighth Avenue
                                                                   New York, NY 10019
                                                                   Attn: Karin A. DeMasi
                                                                   kdemasi@cravath.com
                                                                   Susman Godfrey LLP
                                                                   1301 Avenue of the Americas, 32nd Floor
                                                                   New York, NY 10019
                                                                   Attn: Shawn Rabin
                                                                   srabin@susmangodfrey.com
    Underwriter Defendants’ Counsel:                               Willkie Farr & Gallagher LLP
                                                                   787 Seventh Avenue
                                                                   New York, NY 10019
                                                                   Attn: Todd G. Cosenza
                                                                   tcosenza@willkie.com
           56.       Unless the Court orders otherwise, your written objection will be considered only if it includes all of
    the following information: (a) your full name, address, and phone number; (b) a list and documentation of all of your
    transactions in GreenSky common stock, such as brokerage confirmation receipts or other competent documentary
    evidence of such transactions, including the amount and date of each purchase or sale and the price paid and/or
    received (including all income received thereon); (c) a written statement of all grounds for the objection accompanied
    by any legal support for the objection; (d) copies of any papers, briefs or other documents upon which the objection
    is based; and (e) your signature, even if you are represented by counsel.
          57.      You may not object to the Settlement, or any aspect of it, if you are not a member of the Class or if
    you excluded yourself from the Class.
          58.        If you wish to be heard orally at the Final Approval Hearing in opposition to the proposed Settlement,
    Judgment, Plan of Allocation, or Co-Lead Counsel’s application for an award of attorneys’ fees and Litigation
    Expenses, you must also include in your written objection (that must be filed and served in the manner and time
    period set forth above in ¶¶ 51–52) the following information: (a) a statement of your intention to appear at the
    Final Approval Hearing; (b) a list of all persons, if any, who will be called to testify in support of the objection and
    the subject of their expected testimony and the basis therefor; and (c) if you intend to appear at the Final Approval
    Hearing through counsel, a statement identifying all attorneys who will appear on your behalf.
          59.       You may file a written objection without having to appear at the Final Approval Hearing. You may
    not appear at the Final Approval Hearing to present your objection, however, unless you first filed and served a
    written objection in accordance with the procedures described above, unless the Court orders otherwise.


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           60.       You are not required to hire an attorney to represent you in making written objections or in appearing
    at the Final Approval Hearing. If you decide to hire an attorney at your own expense, he or she must file a notice of
    appearance with the Court and serve it on Co-Lead Counsel at the addresses set forth above in ¶ 55 so that the notice
    is received on or before September 28, 2021.
          61.         If you object to the proposed Settlement, Judgment, Plan of Allocation, or Co-Lead Counsel’s
    application for an award of attorneys’ fees and Litigation Expenses, or otherwise request to be heard at the Final
    Approval Hearing in the manner stated above, you are submitting to the jurisdiction of the Court with respect to
    the subject matter of the Settlement, including, but not limited to, the release of the Released Claims as against the
    Released Defendants contained in the Judgment. If the Court overrules your objection and approves the Settlement
    or the part of the Settlement to which you have objected, you only will potentially share in the Net Settlement Fund
    if you have timely and properly filed a Proof of Claim Form in the manner stated in ¶¶ 47–50 above and the Claims
    Administrator approves your claim.
          62.      The Final Approval Hearing may be adjourned by the Court without further written notice
    to the Class. Any new date for the Final Approval Hearing will be posted on the settlement website at
    www.GreenSkySecuritiesLitigation.com. If you intend to attend the Final Approval Hearing, you should confirm the
    date and time with Co-Lead Counsel.
         63.        Unless the Court orders otherwise, any Class Member who does not object in the manner described
    above will be deemed to have waived any objection and will be forever foreclosed from making any objection to the
    proposed Settlement, Judgment, Plan of Allocation or Co-Lead Counsel’s request for attorneys’ fees and Litigation
    Expenses. Class Members do not need to appear at the hearing or take any other action to indicate their approval.

                           WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?
          64.         If you purchased GreenSky common stock for the beneficial interest of a person or organization other
    than yourself, you must either (i) within fourteen (14) days after you receive this Notice, request from the Claims
    Administrator sufficient copies of the Notice and Proof of Claim Form to forward to all such beneficial owners, and
    within fourteen (14) days of receipt of the copies of the Notice and Proof of Claim Form forward them to all such
    beneficial owners; or (ii) within fourteen (14) days after you receive this Notice, provide a list of the names and
    addresses of all such beneficial owners (preferably in electronic format [e.g., Excel, .csv]) to In re GreenSky Securities
    Litigation, P.O. Box 3560, Portland, OR 97208-3560 or by email to info@GreenSkySecuritiesLitigation.com. If you
    choose the second option, the Claims Administrator will send a copy of the Notice and Proof of Claim Form to each
    beneficial owner whose name and address you provide. Upon full compliance with these directions, nominees may
    seek reimbursement of their reasonable expenses actually incurred by providing the Claims Administrator with
    proper documentation supporting the expenses for which reimbursement is sought. Copies of this Notice and Proof
    of Claim Form may also be obtained by calling the Claims Administrator at (855) 917-3539. Copies of this Notice and
    Proof of Claim Form may be downloaded from the settlement website, www.GreenSkySecuritiesLitigation.com, or
    from Co-Lead Counsel’s website, www.cohenmilstein.com.

                                  WHO SHOULD I CONTACT IF I HAVE QUESTIONS?
          65.       This Notice contains only a summary of the terms of the proposed Settlement. More detailed
    information about the matters involved in the Action is available at www.GreenSkySecuritiesLitigation.com,
    including, among other documents, copies of the Settlement and the Complaint. All inquiries concerning this Notice
    should be directed to:

                                             In re GreenSky Securities Litigation
                                                          P.O. Box 3560
                                                   Portland, OR 97208-3560
                                          www.GreenSkySecuritiesLitigation.com
                                                 Tel: 1-855-917-3539 (Toll-Free)
                                        Email: info@GreenSkySecuritiesLitigation.com

                                                                OR




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                                                               12
                 Case 1:18-cv-11071-AKH Document 195-7 Filed 09/14/21 Page 20 of 31

                                                 Co-Lead Counsel

          Cohen Milstein Sellers & Toll PLLC                  Scott + Scott Attorneys at Law LLP
          1100 New York Avenue N.W., Suite 500                230 Park Avenue, 17th Floor
          Washington, D.C. 20005                              New York, NY 10169
          Attn: Steven J. Toll                                Attn: Max R. Schwartz
          stoll@cohenmilstein.com                             mschwartz@scott-scott.com

    DO NOT CALL OR WRITE THE COURT OR THE OFFICE OF THE CLERK OF COURT
    REGARDING THIS NOTICE.

     Dated: July 2, 2021                                By Order of the Court
                                                        United States District Court
                                                        for the Southern District of New York




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                                                      13
              Case
   In re GreenSky    1:18-cv-11071-AKH
                  Securities Litigation     Document 195-7Objection/Exclusion
                                                             Filed 09/14/21 Deadline:
                                                                                 Page 21September
                                                                                          of 31 28, 2021
   P.O. Box 3560                                          Final Approval Hearing: October 19, 2021
   Portland, OR 97208-3560                                Deadline to File a Claim: October 9, 2021
   Toll-Free Number: (855) 917-3539
   Website: www.GreenSkySecuritiesLitigation.com

                                                        PROOF OF CLAIM
   Before completing this form, please read the detailed instructions on pages 4-5. When filling out this form, type or
   print in the boxes below in CAPITAL LETTERS; do not use red ink, pencils, or staples.
   PART I:              CLAIMANT INFORMATION

     Beneficial Owner’s First Name                                MI         Beneficial Owner’s Last Name


     Co-Beneficial Owner’s First Name                             MI         Co-Beneficial Owner’s Last Name


     Entity Name (if claimant is not an individual)


     Representative or Custodian Name (if different from Beneficial Owner(s) listed above)


     Address 1 (street name and number)


     Address 2 (apartment, unit, or box number)


     City                                                                                         State        ZIP Code


     Foreign Country (only if not United States)


     Social Security Number                                Taxpayer Identification Number
                    –          –                   OR              –
     Telephone Number (Home)                               Telephone Number (Work)
                    –              –                                     –              –
     Email Address


     Account Number (if filing for multiple accounts, file a separate Proof of Claim Form for each account)


   Claimant Account Type (check appropriate):
              Individual (includes joint owner accounts)                Pension Plan                        Trust

              Corporation                                               Estate

              IRA/401(k)                                                Other:                       (please specify)




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    PART II:          SCHEDULE OF HOLDINGS AND TRANSACTIONS IN GREENSKY COMMON STOCK

BEGINNING HOLDINGS. For shares held before the opening of trading on the first day of the Relevant Period
(May 24, 2018), please provide the quantity of shares held (if none, leave blank):
Quantity of Shares:                              ●
INCOMING SHARES. Purchases from the beginning of the Relevant Period (May 24, 2018) to August 5, 2019 (please
note, shares purchased after the end of the Relevant Period do not contribute to your Recognized Loss, but are requested to
properly balance and process your claim). Please provide all data, and list each trade separately:

        Trade Date                                              Purchase Price
                           Quantity of Shares Purchased                                          Total Price
       (MMDDYY)                                                   per Share

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●
OUTGOING SHARES. Sales from the beginning of the Relevant Period through the end of trading on August 5. 2019.
Please provide all data, and list each trade separately:

        Trade Date                                                Sale Price
                              Quantity of Shares Sold                                            Total Price
       (MMDDYY)                                                   per Share

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●

                                                                        ●                                      ●
UNSOLD SHARES. Shares held as of the end of trading on August 5, 2019. Please provide the quantity of shares held (if
none, leave blank):
Quantity of Shares:                              ●




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   PART III:       CERTIFICATION
   1. I (We) hereby warrant and represent that I (we) have not assigned or transferred or purported to assign or transfer,
   voluntarily or involuntarily, any matter released pursuant to this release or any other part or portion thereof.
   2. I (We) hereby warrant and represent that I (we) have included information about all of my (our) purchases,
   acquisitions, and sales of GreenSky common stock between May 24, 2018, and August 5, 2019 and the number of
   shares of GreenSky common stock held by me (us) at the close of trading on August 5, 2019.
   3. I (We) certify that I am (we are) not subject to backup withholding under the provisions of Section 3406(a)(1)(C)
   of the Internal Revenue Code.
   Note: If you have been notified by the Internal Revenue Service that you are subject to backup withholding, please
   strike out the language that you are not subject to backup withholding in the certification above.
   4. I (We) declare under penalty of perjury under the laws of the United States of America that the foregoing information
   supplied by the undersigned is true and correct.


   Executed this              day of                              in                                ,
   		(Day)			(Month/Year)			(City)			(State/Country)

                                                                                             –           –
                                                                              Date:
                                                                                      MM          DD         YY
                          (Signature of Claimant)




                         (Print Name of Claimant)


                                                                                             –           –
                                                                              Date:
                                                                                      MM          DD         YY
                    (Signature of Joint Claimant, if any)




                   (Print Name of Joint Claimant, if any)




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                                                PROOF OF CLAIM INSTRUCTIONS
            1.     To recover as a Class Member based on your claims in the action entitled In re GreenSky Securities
   Litigation, Case No. 1:18-cv-11071-AKH (S.D.N.Y.) (the “Action”),1 you must complete and, on page 3 hereof, sign
   this Proof of Claim Form. If you fail to timely and completely file a properly addressed (as set forth in paragraph
   3 below) Proof of Claim Form, your Claim may be rejected and you may be precluded from any recovery from the
   Settlement Fund created in connection with the proposed Settlement of the Action.
            2.      Submission of this Proof of Claim Form, however, does not assure that you will share in the proceeds
   of the Settlement of the Action, if it is approved by the Court. Your recovery, if any, will be calculated as described
   in the Plan of Allocation in the Notice of Pendency of Class Action and Proposed Settlement (“Notice”).
         3.       You must mail your completed and signed Proof of Claim Form postmarked on or before
   October 9, 2021, addressed as follows:
              In re GreenSky Securities Litigation
              P.O. Box 3560
              Portland, OR 97208-3560
              www.GreenSkySecuritiesLitigation.com
              Tel: 1-855-917-3539 (Toll-Free)
              Email: info@GreenSkySecuritiesLitigation.com
              4.      If you are NOT a Class Member (as defined in the Notice), DO NOT submit a Proof of Claim Form.
           5.      If you are a Class Member and you did not timely and validly request exclusion from the proposed
   Class (pursuant to the procedures set forth in the Notice), you will still be bound by the terms of the Settlement and
   proposed Judgment to be entered in the Action, including the releases provided therein, whether or not you submit
   a Proof of Claim Form.
           6.       This Proof of Claim Form must be submitted by the actual beneficial purchaser(s), or the legal
   representative of such purchaser(s), of the GreenSky common stock upon which these claims are based.
              7.      Use Part I of this form entitled “Claimant Identification” to identify each beneficial purchaser.
            8.       All joint purchasers must sign this Proof of Claim Form. Executors, administrators, guardians,
   conservators, and trustees must complete and sign this Proof of Claim Form on behalf of persons represented by
   them, and their authority must accompany this Claim and their titles or capacities must be stated. The last four digits
   of the Social Security (or taxpayer identification) number and telephone number of the beneficial owner(s) may be
   used in verifying the Claim. Failure to provide the foregoing information could delay verification of your Claim or
   result in rejection of the Claim.
           9.      Use Part II of this form entitled “Schedule of Holdings and Transactions in GreenSky Common
   Stock” to supply all required details of your transaction(s) in GreenSky common stock. If you need more space or
   additional schedules, attach separate sheets giving all of the required information in substantially the same form.
   Sign and print or type your name on each additional sheet.
           10.      On the schedules, provide all of the requested information with respect to all of your purchases
   of GreenSky common stock which took place during the period between May 24, 2018, and November 12, 2018,
   inclusive (the “Relevant Period”), whether such transactions resulted in a profit or a loss. Failure to report all such
   transactions may result in the rejection of your Claim.
         11.      List each transaction separately and in chronological order, by trade date, beginning with the earliest.
   You must accurately provide the month, day, and year of each transaction you list.
            12.     You should attach documentation verifying your transactions in GreenSky common stock, such as
   copies of broker confirmations. Failure to provide this documentation could delay verification of your Claim or result
   in rejection of your Claim.



             1
               This Proof of Claim Form incorporates by reference the definitions in the Stipulation and Agreement of Settlement dated
   May 24, 2021 (“Stipulation”), and all capitalized terms used, but not defined herein, shall have the same meanings as in the Stipulation. A
   copy of the Stipulation can be obtained at www.GreenSkySecuritiesLitigation.com.


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   Reminder Checklist:
         1. Sign the Certification section of the Proof of Claim Form on page 3.
         2. Remember to attach supporting documentation.
         3. Do not send original documents.
         4. Keep a copy of your Proof of Claim Form and all documents submitted for your records.
         5. If you desire an acknowledgment of receipt of your Proof of Claim Form, send your Proof of Claim Form by
            Certified Mail, Return Receipt Requested.
         6. If you move, please send the Claims Administrator your new address.


   Accurate claims processing can take a significant amount of time. Thank you for your patience.




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                       Exhibit B
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                CONFIRMATION OF PUBLICATION

IN THE MATTER OF: GreenSky Securities


I, Kathleen Komraus, hereby certify that

       (a) I am the Media & Design Manager at Epiq Class Action & Claims Solutions, a noticing
       administrator, and;
       (b) The Notice of which the annexed is a copy was published in the following publications
       on the following dates:



                            7.12.2021 – IBD Weekly
                            7.12.2021 – PR Newswire




X_____________________________________________
                  (Signature)

Media & Design Manager
_____________________________________________
                  (Title)
B4          WEEK OF JULY 12, 2021                                                                                     SECTOR LEADERS
                                                                  Case 1:18-cv-11071-AKH Document 195-7 Filed 09/14/21 Page 28 of 31
                                                                                                                                                                                                                                                                                                                                                      INVESTORS.COM


IBD Sector Leaders                                                                                                                                                                                                                                                                                                                                             1,491%
            S&P 500                                                                                              532.3%                                                                                                               Performance vs. the S&P 500 since 3/6/2009

Fox Factory (FOXF)                            YTD +49%          $157.86 InMode (INMD)                                    YTD +102%                   $96.14 Xpel Inc (XPEL)                                                   YTD +64%               $84.52
41.5 M Shares        99 Comp. Rating 98 EPS     87 RS 22% ROE              12.5 M Shares          99 Comp. Rating 98 EPS         96 RS 41% ROE                 21.8 M Shares       98 Comp. Rating 95 EPS        98 RS 41% ROE
                                                                                                                                                                                                                                                                                  INVESTOR’S BUSINESS DAILY PRESENTS…
Makes high-performance suspension products used on mountain bikes,         Israeli seller of radio frequency devices used in minimally & non-inva-             Manufactures and distributes after market automotive products in U.S,
and off-road and all-terrain vehicles.                                     sive cosmetic procedure/women’s health.                                             Canada, U.K and Netherlands.
Ann. EPS Growth +23% PE 45 Avg. Daily Vol 250,200 Debt 52%                 Ann. EPS Growth +68% PE 38 Avg. Daily Vol 650,200 Debt 0%                           Ann. EPS Growth +73% PE 99 Avg. Daily Vol 203,000 Debt 7%                                                 Financial education for a new generation.
Last Qtr EPS +102% Next Qtr Eps Est +104% Last Qtr Sales +52%            Last Qtr EPS +130% Next Qtr Eps Est +171% Last Qtr Sales +62%                     Last Qtr EPS +317% Next Qtr Eps Est +86% Last Qtr Sales +83%
3Qtrs Avg Eps +56% PreTax Mgn 16%                                          3Qtrs Avg Eps +87% PreTax Mgn 43%                                                   3Qtrs Avg Eps +132% PreTax Mgn 14%
EPS Due:8/5 Group 81                                                       EPS Due:8/5 Group 22                                                                EPS Due:8/12 Group 69
R&D 4%                                                                     R&D 5%                                                                                                                                                                                                             Learn more at
                                                     Acc/Dis C+                                                                    Acc/Dis B                                                                                            Acc/Dis B-                             Moneyworks.investors.com
                                                 UpDown Vol 0.9                                                               UpDown Vol 1.1                                                                                        UpDown Vol 1.6
                                                                                                                              Sup/Demand 84
                                                                                                                                                                                                                                                                          © 2021 Investor’s Business Daily, LLC, Investor’s Business Daily, IBD and
                                                                                                                                                                                                                                                                               CAN SLIM and corresponding logos are registered trademarks
                                                                                                                                                                                                                                                                                          owned by Investor’s Business Daily, LLC.

Forming base on base pattern with 166.98 entry.                            Slightly extended as it rebounds from 10-week line.                                 Testing support in pullback to 10-week line.


                                                                                                       For the past three quarters, Fox Factory has posted accel-                                                                     sales rose 58% to $469.1 million, including acquisitions. Most
SECTOR LEADERS REVIEW                                                                                erating earnings and sales growth, exceeding the 20%-25%                                                                         impressively, the company said it had 673 customers with av-
                                                                                                     minimum CAN SLIM looks for. EPS has also risen. And rev-                                                                         erage annual contract value more than $300,000 as of April
BY R ACH EL FOX
                                                                                                     enue growth year-over-year has risen from 23% to 41% then                                                                        30, up from 599 in the previous quarter.
I N V E S TO R ’ S B U S I N E S S D A I LY
                                                                                                     52%.The Georgia-based ﬁrm makes gear used on mountain                                                                              InMode was on ﬁre Friday, rising over 3.5% as shares
Top growth stocks to watch this week on IBD’s Sector Lead-                                           bikes and all-terrain vehicles.                                                                                                  gained momentum from a bounce off the 10-week line.
ers screen include Fox Factory (FOXF), DocuSign (DOCU) and                                             Elsewhere, DocuSign stock showed a decline of roughly                                                                            According to MarketSmith chart analysis, shares are ex-
InMode (INMD). All three stocks have notable accelerations in                                        0.3% on Friday after breaking out above a key buy point ear-                                                                     tended from an 87.10 cup-with-handle buy point. Its recent
year-over-year earnings growth for their most recent quar-                                           lier this week. The ideal buy point is at 290.33, just 10 cents                                                                  test of the 10-week line provided an opportunity to add on
ters, making them worthy of your watchlist.                                                          above the highest point in the formation.                                                                                        shares to an existing position earlier this week. But the stock
  Fox Factory gapped up and traded roughly 2.5% higher on                                              DocuSign reported powerful earnings on June 3, which led                                                                       is now roughly 10% above the 10-week moving average.
Friday. The IBD 50 growth stock just regained support at its                                         to a 20% intraday gain. Shares have been climbing since then.                                                                      Two straight quarters of accelerating earnings and sales
50-day moving average, which is a bullish sign. It’s currently                                       DocuSign holds a perfect 99 Composite Rating.                                                                                    growth deem InMode worthy of its Sector Leader status. The
forming a new consolidation with a 166.98 buy point. Shares                                            April-quarter earnings came in at 44 cents per adjusted                                                                        stock’s 2021 price performance also adds to its appeal. Shares
remain 5% away from the buy point.                                                                   share, up 267% from the year-earlier period. Meanwhile,                                                                          are up 103% year to date.

                                                                                                                               SmartSelect® Composite Rating                                                   SmartSelect® Composite Rating                                                              SmartSelect® Composite Rating

Top-Ranked Low-Priced Stocks                                                                                                  E
                                                                                                                              P R Acc 52-Wk
                                                                                                                              S S Dis Hi Stock
                                                                                                                                                                           Closing   Vol %
                                                                                                                                                                    Symbol Price Chg C
                                                                                                                                                                                                              E
                                                                                                                                                                                                              P R Acc 52-Wk
                                                                                                                                                                                                              S S Dis Hi Stock
                                                                                                                                                                                                                                                           Closing   Vol %
                                                                                                                                                                                                                                                    Symbol Price Chg C
                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                         P R Acc 52-Wk
                                                                                                                                                                                                                                                                                                         S S Dis Hi Stock
                                                                                                                                                                                                                                                                                                                                                                  Closing   Vol %
                                                                                                                                                                                                                                                                                                                                                           Symbol Price Chg C
Includes stocks trading less than 20,000 shares. Full list of low-priced                                                 91   89   69   B- 36.8    Enterprise         EBTC         33.10    0.52   -45   76   86   70   C 62.1     Lawson           LAWS       53.36    0.70     -86           69      33      80     B 27.0              RandCap           RAND      17.89 -0.88     25
and thinly traded stocks at https://www.investors.com/ibd-data-tables/                                                   97   69   98   A+ 7.1     Entravsn             EVC         6.39    0.20    -8   76   84   38   C- 20.2    LegacyHousing     LEGH      17.18    0.14     -74           91      72      82     D+ 24.7             RandolphBnc       RNDB      20.95 -0.23    -93
                                                                                                                         95   43   87   A 5.2      EpsilonEnrg       EPSN           5.09   -0.01   -31   82   57   88   A 9.5      LexariaBiosci     LEXX       7.12    0.41     -87           76      49      73     B- 39.0             Rayonier            RYN     38.17 0.75      -6
     SmartSelect® Composite Rating                               SmartSelect® Composite Rating                           84   66   70   C- 77.6    EqLifestyle          ELS        78.54    1.10   -19   84   91   42   C+ 15.4    Lexinﬁntech A         LX     9.33    0.07     -18           90      48      86     B+ 12.7             Redwood            RWT      12.12 0.35      11
    E                                                           E                                                        74   66   16   .. 22.3    EroCopper           ERO         20.73    0.55   -13   91   88   49   C+ 13.0    LexngtonRlty        LXP     12.26    0.18     -13           97      69      81     B+ 4.6              RpblcFrst         FRBK       3.77 0.07     -28
    P R Acc 52-Wk                           Closing     Vol %   P R Acc 52-Wk                           Closing    Vol % 92   65   84   C+ 29.3    EssPrpRealTr      EPRT          27.98    0.71   -55   98   73   87   B 113.2    Life Storage         LSI   114.00    2.31     -15
    S S Dis Hi Stock                 Symbol Price Chg C         S S Dis Hi Stock                Symbol Price Chg C                                                                                                                                                                             69      38      82     B- 18.9             RetailOpp          ROIC     17.73 0.44     -17
                                                                                                                         84   69   93   C 7.2      EXFO              EXFO           5.94    0.00   -78   82   89   84   D- 2.8     Lloyds              LYG      2.56    0.10      13           75      61      87     C- 22.4             Retail Value         RVI    21.61 0.26     -74
90 69 75 B 8.6 180DegreeCap           TURN 8.01 -0.01 -71 73 32 91 B+ 10.6 CenovusEngy             CVE 9.12 0.15 -28 69       28   99   A+ 14.0    Express           EXPR           5.79    0.11   -70   88   85   82   B 7.4      LornaNegrCia     LOMA        6.97    0.12     -60           93      79      66     B- 59.8             Rexford Indus     REXR      58.76 0.80      42
80 46 85 B 16.6 1895 BncWisc         BCOW 15.90 0.90 -81 75 31 99 B+ 7.5 CentennRsDv             CDEV 6.82 0.14 -33 69        34   86   C+ 14.8    Farmlnd Ptnrs         FPI       12.46    0.31   -43   83   57   91   A- 4.0     Lubys              LUB       3.83    0.02     -76           78      79      76     C+ 13.1             RhinebackBnc      RBKB      10.70 0.17     -71
79 93 90 D 11.8 Adecoagro             AGRO 9.54 0.26 -57 87 79 79 B- 121.3 CtryBc              CNBKA 114.06 0.00 -50 79       28   99   A- 6.4     Ferroglobe          GSM          6.29    0.15   -33   82   68   77   B- 4.5     LumentFinanc        LFT      3.94    0.10     -50           81      71      79     D+ 11.3             RibbonComms       RBBN       7.60 0.16     -57
94 69 84 A- 14.1 AfﬁnityBncshr         AFBI 13.07 0.08 -96 93 99 78 C 23.7 CF Bankshrs           CFBK 18.90 0.31 -67 91       87   56   A- 11.7    FFBW             FFBW           11.62    0.10   131   71   69   94   C+ 4.0     Maiden           MHLD        3.49    0.01     -70           86      69      84     B- 9.0              Richardson         RELL      7.80 0.31     -83
72 47 43 C+ 73.9 AgreeRealty            ADC 72.43 0.76 -32 90 69 97 D 3.7 ChrlClvrd              CTHR 2.83 0.06 -83 74        31   95   B+ 10.0    FG Finl              FGF         8.32   -0.03   -80   78   59   76   C- 8.1     MhBCap           LOAN        6.53    0.08     258           83      69      82     B+ 10.7             Rimini            RMNI       7.65 0.80      25
91 59 95 B 7.5 AllianceRes            ARLP 7.80 0.58 45 79 23 99 B+ 7.3 ChicosFAS                  CHS 6.97 0.80 12 91        64   98   B 10.6     FinvolutionA       FINV          7.93   -0.09    -7   70   38   94   A- 49.1    Mannatech        MTEX       32.31   -3.60      93           74      69      67     B 7.8               Riverview         RVSB       6.96 0.20     -57
92 66 69 B+ 20.2 AlpineIncProp         PINE 19.25 0.39 -73 73 69 65 B 5.4 ChinaHGS               HGSH 1.96 -0.05 -96 82       81   57   B- 32.6    FrstBancorp       FNLC          28.78    0.93     5   96   65   92   B- 8.7     Manning&Napr        MN       7.95    0.09     -75           83      69      96     A+ 8.3              RyMtCh            RMCF       8.21 -0.04    -16
87 54 81 C 40.6 AmHm4                  AMH 41.24 0.93 -6 94 94 77 C+ 14.4 CincinnBancrp         CNNB 14.28 0.10 11 70         42   80   D+ 4.8     FrEagAltCpBdc     FCRD           4.59    0.13   -20   84   69   96   B 9.5      Medallion         MFIN       8.50    0.04     -88           74      55      98     B- 7.2              RR Donnelley        RRD      5.95 0.24     -67
70 54 62 B+ 14.0 AmerRltyInv            ARL 11.03 0.29 150 72 38 77 B- 12.9 CityOfﬁceReit           CIO 12.24 0.26 -60 77     71   79   B- 15.2    FtFnNw           FFNW           14.95    0.12   -66   73   14   88   A- 7.4     MesaRylty          MTR       6.30    0.25      55           95      69      97     B+ 4.5              SafeBulk              SB     3.58 0.12     -48
89 84 84 D 21.1 AmrRvr               AMRB 18.02 0.46 -93 70 69 53 A- 8.8 CN Energy               CNEY 5.93 0.06 -84 89        75   72   C 53.9     FirstIndust             FR      54.00    1.00    40   74   41   85   D 4.9      MFAFincl           MFA       4.73    0.21      10           94      78      77     B+ 85.0             Safehold           SAFE     84.01 2.60     -18
71 77 55 A- 5.3 Ameriserv             ASRV 3.80 -0.04 -7 86 55 77 B 10.2 CodaOctopus             CODA 8.75 -0.09 -39 89       88   80   B 20.8     First National    FXNC          21.60    0.80    55   84   88   65   B- 37.6    MgmGrwProps       MGP       36.58    0.54     -13           75      69      94     B- 4.0              SalMedia          SALM       2.44 -0.02    -79
90 46 97 A+ 10.4 Ammo               POWW 8.28 0.15 -29 72 69 76 A- 2.7 ColorStarTech            CSCW 1.03 -0.01 -53 97        98   79   B 76.4     FrstSvgs           FSFG         75.03    1.81    12   79   58   79   B+ 3.3     MdCTI            MNDO        3.17    0.05     -60           93      82      64     B+ 53.0             Salisbury           SAL     47.65 0.65     -63
73 34 98 B- 4.7 AmplifyEnergy AMPY 3.95 0.05 -45 88 90 36 B- 52.5 CommHlthTr                     CHCT 49.48 1.08 -41 73       68   75   B- 12.5    FrstUsBncshrs     FUSB          10.50    0.07   -69   70   46   98   B+ 12.3    Mogo             MOGO        6.72    0.09     -56           94      64      91     B- 6.1              SanJuanB             SJT     4.92 -0.03     15
70 57 53 C- 9.6 AnnalyCap               NLY 8.91 0.21 3 83 80 82 B- 13.9 CmWest                 CWBC 13.49 0.29 12 77         27   88   A- 8.7     Five Point A        FPH          8.36    0.19   -80   74   36   97   A- 11.9    Moneygram          MGI      10.52    0.70     -17           92      69      98     B+ 6.7              Sandrdge n            SD     5.80 0.07     -50
85 69 74 B- 5.1 Antares               ATRS 4.43 0.12 -36 99 70 96 E 10.3 ComphSidrg                 SID 8.59 0.23 -51 73      67   50   D+ 8.9     FncbBancrp        FNCB           7.23    0.03   -85   74   69   59   E 19.8     MonmouthRE        MNR       18.72    0.17     -24           73      43      81     C+ 47.8             SaulCenters         BFS     45.62 1.37     -18
82 47 99 A+ 9.0 Apollo Endo           APEN 8.18 0.28 -70 76 41 88 B- 11.7 ComputerTask             CTG 9.54 0.03 -79 77       83   21   C+ 99.1    Formula          FORTY          88.25    0.08     7   90   36   98   A+ 10.0    MVOil             MVO        9.79    0.05     231           80      92      55     C- 10.2             SecrtyNtl        SNFCA       8.52 0.09     -85
79 64 83 C 9.0 ASE Tech                 ASX 8.17 0.22 -43 89 44 72 B 7.0 ComstckRes                CRK 6.38 0.07 -69 96       97   82   C- 73.6    FS Bancorp       FSBW           70.10    1.40    14   69   69   61   B+ 78.9    NathnsFms        NATH       69.38   -0.03     -44           69      52      85     B- 5.5              Ideanomics         IDEX      2.59 -0.02    -56
79 63 86 B- 18.1 Astronova            ALOT 14.22 -0.21 -72 70 41 86 B 9.9 ConsolComm             CNSL 8.74 0.21 -59 72        52   98   C+ 11.9    FullHseR              FLL        8.82    0.11   -58   75   59   47   B- 111.4   NatlPresto         NPK     100.51    2.85     -59           94      96      87     B+ 12.8             Severn             SVBI     11.92 0.17     -99
84 63 84 B- 56.7 AZZ                    AZZ 57.57 6.03 155 72 69 53 B- 5.1 CnsmrPrt              CPSS 4.55 -0.04 63 90        81   62   B- 48.9    Gmg/LesPptys        GLPI        46.85    0.87   -22   72   48   65   B- 50.3    NatlRetailPty      NNN      47.67    0.83      -8           79      82      97     B- 5.9              SifyTech            SIFY     3.31 0.15     -25
83 72 88 C 6.5 Bilbao                 BBVA 6.22 0.29 -32 69 28 93 B+ 11.5 CorepointLdg           CPLG 11.24 0.40 -44 87       58   91   A+ 5.9     GasLog            GLOP           5.07   -0.13     4   99   66   87   A 52.5     NatlStrgAff        NSA      52.70    1.18     -28           79      61      78     B- 85.7             SLGreenRlty         SLG     78.79 1.69      12
70 95 33 D- 77.0 Bank First             BFC 69.43 -0.02 -68 81 60 52 B 141.5 CoresiteRlty          COR 138.33 1.42 -15 69     69   33   B- 10.4    GeneratnsBncNy    GBNY          10.34   -0.01   -72   96   69   76   B 24.4     Netstreit         NTST      24.47    0.53      19           95      92      83     A 48.4              SoundFinlBn       SFBC      44.00 0.17     -41
78 81 80 D+ 21.6 JamesFncl            BOTJ 15.72 0.24 39 80 71 49 B+ 30.3 CorpOfﬁce                OFC 29.33 0.76 -27 90      69   77   C 7.3      GerdauAdr           GGB          5.71    0.21   -55   79   41   95   B 9.0      NewSeniorInv       SNR       9.04    0.19      63           97      78      92     D 5.8               SWEnergy           SWN       5.42 0.08     -43
76 75 77 D- 10.8 Barclays               BCS 9.79 0.43 -1 92 93 88 B+ 28.2 CortlandBnc            CLDB 26.50 0.83 -69 73       76   53   E 34.2     GettyRlty            GTY        32.39    0.63   -28   69   38   81   D- 4.9     NYMrtg           NYMT        4.53    0.17       2           78      59      75     D 51.2              Spirit Realty       SRC     48.71 1.06      61
85 52 86 A- 7.1 Berry                   BRY 6.52 0.20 -44 70 47 91 B+ 10.5 Coty                  COTY 8.90 0.16 -28 73        75   57   B 13.0     GlenBurnie         GLBZ         12.26   -0.74   -69   77   25   82   B+ 57.1    NexPointRes      NXRT       57.08    1.09     -40           93      79      68     B 39.7              Stag Industrl     STAG      39.04 0.73     -38
74 46 88 B- 6.5 BGCPtrs               BGCP 5.57 0.12 -56 83 75 94 E 4.9 CrescntPtEnrg              CPG 4.00 0.04 -14 83       62   60   B- 16.0    GlobMedReit      GMRE           15.22    0.37   -41   88   93   48   C- 21.2    NI Hdgs          NODK       19.41    0.09     -65           90      83      88     D- 325.1            Stamps            STMP     324.23 126.51   999
77 70 92 D- 188.5 Biglari B              BH 160.92 2.72 22 70 34 90 B 7.5 Cresud               CRESY 6.79 0.29 -2 80          69   71   C- 6.8     GlobalSlfStr       SELF          5.31    0.11   -40   77   39   74   B+ 11.8    NicholasFncl      NICK      11.12    0.01     -75
                                                                                                                                                                                                                                                                                               81      70      96     A- 9.9              Starrett LS         SCX      8.51 -0.09    -79
85 70 92 B- 949.0 Biglari A            BHA 822.28 45.28 83 72 65 69 B 8.4 Crowncraft            CRWS 7.62 0.00 -60 87         85   79   B+ 6.3     GlobCordBlood           CO       5.26    0.00   -62   74   45   81   B- 8.5     NLIndust             NL      6.62    0.21     -67
                                                                                                                                                                                                                                                                                               85      60      56     A- 22.7             StonecstlFin      BANX      21.89 0.33     -67
75 69 91 A- 12.7 BonsoElec            BNSO 7.83 0.25 433 97 80 85 C 48.4 Cubesmart               CUBE 48.51 1.04 112 81       69   93   B 6.3      GoodTimes          GTIM          3.98   -0.14   -57   74   63   81   B+ 9.8     Nokia              NOK       5.47    0.06     -57
                                                                                                                                                                                                                                                                                               77      47      71     B 36.7              Store Capital     STOR      35.89 0.72     -10
80 64 89 B+ 4.4 BOSBetter             BOSC 4.27 0.20 177 89 69 90 C+ 5.6 Deswell                DSWL 4.70 0.03 -73 88         71   79   B 13.3     GreatAjax            AJX        12.95    0.27   -34   75   41   95   B 7.3      NoEuroOil          NRT       7.10    0.11     -72
                                                                                                                                                                                                                                                                                               74      91      37     D 27.4              SumitFncl        SMMF       21.82 0.65     -64
70 11 93 B 6.5 BP Prdhoe                BPT 4.75 0.19 -34 82 77 57 E 179.3 DiamHill               DHIL 167.42 3.82 -41 89     91   59   B 32.4     GreenCnty         GCBC          28.04    0.81   -62   88   69   93   B+ 18.0    NthnTch           NTIC      18.27    0.35      23
                                                                                                                                                                                                                                                                                               88      89      60     B- 18.3             SummitSt           SSBI     15.50 0.50     252
69 50 79 D+ 11.8 Brainsway           BWAY 9.56 -0.19 151 82 31 95 A 8.7 Digitalbridge            DBRG 7.69 0.16 -73 76        69   62   C- 9.7     Greenlight        GLRE           9.15    0.15   -13   93   95   75   C+ 48.2    Nrthrim          NRIM       41.26    0.63     -20
                                                                                                                                                                                                                                                                                               92      64      70     B 179.4             SunCommty            SUI   180.87 2.63      -8
74 79 67 E 15.2 BrndywineRty           BDN 13.95 0.36 -10 73 58 45 C+ 13.1 DLHHldngs             DLHC 10.59 -0.32 -65 84      53   98   B 3.0      HalladorE         HNRG           2.89    0.13   -35   85   69   90   C- 11.3    O2Micro           OIIM       6.64    0.13     -65
                                                                                                                                                                                                                                                                                               76      45      92     B+ 11.2             SuperLgGamng      SLGG       5.00 0.12     -61
70 49 77 A- 6.1 BRF SA                BRFS 5.03 0.04 -80 88 68 65 B+ 3.7 Dynagas                 DLNG 3.35 0.15 24 70         46   88   B 5.0      Hallmark           HALL          4.96    0.67   860   83   45   72   B- 6.9     OaktreeSpec       OCSL       6.84    0.19      48
                                                                                                                                                                                                                                                                                               77      80      90     C+ 6.6              Taitron             TAIT     4.91 0.09     -92
93 80 83 C+ 26.9 BroadstoneNet          BNL 24.45 0.23 -62 86 57 70 C+171.4 Eastgroup              EGP 171.06 2.59 -26 78     68   67   B- 9.2     Harmonic            HLIT         8.16    0.20   -68   70   32   91   B- 10.3    OFS Capital        OFS       9.80    0.22     -63
                                                                                                                                                                                                                                                                                               88      47      99     A+ 5.8              Tellurian          TELL      4.40 0.07     -66
69 59 91 D- 29.9 ByrnaTech            BYRN 21.35 0.03 -79 72 69 77 C- 10.7 EDAP TMS              EDAP 6.36 0.07 -66 92        73   95   A 8.6      HarvrdBio          HBIO          8.17    0.14   -28   69   80   39   C+193.6    OmegaFlx          OFLX     155.90    5.63     -82
                                                                                                                                                                                                                                                                                               87      80      56     B- 67.7             TerrenoRlty       TRNO      66.81 1.08     -38
93 89 56 B 89.5 CambridgeBnc          CATC 80.63 0.60 -36 85 94 78 D+ 4.9 Elevate Credit          ELVT 3.61 0.12 -62 72       69   78   C 9.4      Hecla Ming              HL       7.14    0.23   -51   74   45   98   B+ 6.6     Oncocyte           OCX       5.75    0.22     164
                                                                                                                                                                                                                                                                                               87      67      82     C+ 15.5             Tiptree A           TIPT     8.76 0.20     -58
70 22 84 B+139.0 CamdenPrpty            CPT 141.18 2.35 3 74 64 59 A- 16.0 ElmiraSvgBnk          ESBK 14.31 -0.17 -76 80      70   64   C- 49.0    Highwood            HIW         46.16    1.22   -36   72   38   99   C- 13.3    OneGrpHosp        STKS      10.20    0.51     -81
                                                                                                                                                                                                                                                                                               74      51      97     B- 2.3              TransGlb            TGA      1.88 0.11     -49
85 70 54 B 24.9 CareTrust             CTRE 23.74 0.47 -46 93 69 96 B 10.9 Emcore                EMKR 9.21 0.29 -61 97         98   82   C- 325.9   Hingham             HIFS       300.32    3.31    30   74   28   86   B 29.7     OneLiberty         OLP      29.15    0.71     -16
                                                                                                                                                                                                                                                                                               78      38      98     B 5.1               Transocean           RIG     4.49 -0.04    -47
78 62 85 C- 13.2 Casa Systems         CASA 8.77 0.34 -32 91 41 92 B- 9.9 Enable Midstr           ENBL 9.14 0.28 74 88         87   72   C 39.8     HomeBnc           HBCP          37.74    0.70    19   88   84   76   B- 12.4    OP Bancorp       OPBK        9.99    0.04     -64
                                                                                                                                                                                                                                                                                               87      39      93     C- 6.6              TremontMtg        TRMT       5.93 0.07     -93
70 69 94 B- 2.7 CastlghHlthB           CSLT 2.29 -0.04 -30 77 69 86 C+ 7.8 EndvSilv                EXK 5.83 0.28 -21 84       89   75   D+ 17.8    HowardBanc       HBMD           15.62    0.12   -32   88   69   91   B+ 6.2     OptimumBk        OPHC        5.05   -0.35     166
                                                                                                                                                                                                                                                                                               71      28      95     B+ 18.7             TSR                TSRI     11.60 0.70     889
85 58 95 A- 17.5 CedarRealty           CDR 16.54 0.14 -38 82 43 97 B- 7.5 Enerplus                 ERF 6.89 0.18 -9 89        41   91   A- 19.9    HudsonGl          HSON          19.03    0.73   408   69   69   89   B 9.6      Oxbridge Re      OXBR        2.95   -0.11     107
                                                                                                                                                                                                                                                                                               96      69      85     B+ 23.3             UMHPrptys          UMH      22.03 0.35     -57
80 69 94 C+ 9.1 CemexSab                 CX 8.40 0.26 -33 83 55 95 B- 6.7 EnlikMidstrm           ENLC 6.39 0.30 -12 73        48   98   A+ 3.7     HudsonTch         HDSN           3.27    0.17   -69   70   31   85   B- 5.2     OxfordSqCap      OXSQ        4.97    0.02     -15
                                                                                                                         78   69   97   B- 7.0     Hutting Bld         HBP          5.43    0.21   -90   83   63   91   B+ 9.4     PaciﬁcMerc       PMBC        8.34    0.28      33           96      84      86     B+ 38.0             UnionBank           UNB     35.02 -0.11    -27
                                                                                                                         98   96   85   B+ 22.0    HV Bancorp        HVBC          21.97    0.10   -94   74   91   55   C+ 66.3    PAM Trans          PTSI     54.34    1.20      31           96      86      91     B 37.7              UnitdBcOH         UBOH      36.40 0.41     -83
                                   UNITED STATES DISTRICT COURT                                                          71   99    9   B 11.3     Hywin              HYW           7.22   -0.14    30   98   82   92   B+ 5.4     Pangaea          PANL        4.63    0.14     -58           91      91      92     D+ 11.3             UntdMicro          UMC       9.53 0.21      -5
                                  SOUTHERN DISTRICT OF NEW YORK                                                          86   69   86   B 7.6      ICL Group              ICL       6.69    0.04   -25   83   61   79   B- 8.5     PartnersBnc       PTRS       8.50    0.33      17           76      48      85     D+ 20.3             Urban Edge            UE    18.94 0.52      62
                                                                                                                         75   62   98   A- 4.2     Iconix             ICON          3.13    0.00     6   81   44   99   B- 10.5    PeabdyEngy         BTU      11.01    1.15      47           88      69      99     A- 6.5              Urban One D      UONEK       5.38 0.45     -47
  IN RE GREENSKY SECURITIES LITIGATION                                  Case No. 18-cv-11071 (AKH)                       84   86   48   A+ 23.5    IFBancorp          IROQ         22.06   -1.34   -88   73   42   90   C+ 7.4     Pennantpark      PNNT        6.76    0.03      -7           79      50      87     B- 20.0             UrstadBddleA        UBA     19.13 0.51     -10
                                                                                                                         70   88   91   D 11.6     ImgeSens           ISNS          6.82    0.23   -97   73   91   38   D- 47.5    PeoplesFinSv       PFIS     42.47    0.56     -16           81      50      84     B 16.5              UrstadtBiddle       UBP     16.06 0.24     -88
                      SUMMARY NOTICE OF PROPOSED SETTLEMENT                                                                                                                                                                                                                                    74      69      81     D 12.9              USGlbl           GROW        5.99 0.05     -47
                                                                                                                         83   48   86   B+ 18.9    IndepnRealtyTr        IRT       18.97    0.40   -49   81   33   99   A- 5.1     PeformtFinl      PFMT        3.97    0.50      76
  TO: ALL PERSONS AND ENTITIES WHO PURCHASED CLASS A COMMON                                                              72   63   55   C+ 48.5    Indst Bachoco         IBA       46.49    0.66   -24   80   21   91   B+ 5.7     PermianBasn        PBT       5.47    0.13     -29           82      88      69     C- 156.0            USLimMn           USLM     139.31 -1.03    -47
         STOCK OF GREENSKY, INC. PURSUANT AND/OR TRACEABLE                                                               80   74   63   B- 26.8    IndLogisProp        ILPT        26.60    0.48   -31   80   15   95   A- 2.1     PermianvilleRy     PVL       1.95    0.05     -61           72      69      95     B+ 8.3              USD Partners      USDP       7.42 -0.30     20
         TO THE REGISTRATION STATEMENT AND PROSPECTUS ISSUED                                                             83   70   96   A- 6.3     InfoSvcs                 III     6.00    0.13   -43   76   20   97   A 7.4      PrmrkRoyalTr       PRT       7.25    0.07     -20           76      54      96     B 8.2               Usio               USIO      6.20 0.19     -80
         IN CONNECTION WITH GREENSKY’S MAY 25, 2018 INITIAL                                                              85   69   96   C+ 9.5     Innodata           INOD          6.93    0.17   -79   95   70   94   B+ 43.0    Phenixﬁn           PFX      41.14    0.36     207           94      72      96     B- 3.7              VaalcoEn            EGY      3.18 0.13     -40
         PUBLIC OFFERING                                                                                                 99   93   86   C 222.1    InnovatvInd         IIPR       203.98    6.96   -10   76   70   60   D- 20.4    PiedmntOffce      PDM       18.75    0.65      15           80      52      80     A+ 3.4              VenusConcpt       VERO       3.11 -0.16     23
         YOU ARE HEREBY NOTIFIED that a proposed Settlement has been reached in                                          75   32   86   B 6.3      InvcorCredMg      ICMB           6.07    0.33   753   82   53   94   D 15.5     Pitney Bowes        PBI      9.43    1.22     716           97      98      75     C 33.4              Vici Props          VICI    31.44 0.74     -12
  this Action. A hearing will be held with respect to the Settlement on October 19, 2021 at                              81   31   80   A- 39.6    InvitatnHome       INVH         39.90    0.52     7   85   44   86   B 20.8     PlymthIndReit    PLYM       20.77    0.49     -25           72      37      96     B 7.4               Viewray           VRAY       6.91 0.28      43
  10:00 a.m., before the Honorable Alvin K. Hellerstein, in the United States District Court                             90   92   67   D+189.0    InvstrTitle          ITIC      171.10    2.52   -74   94   64   89   C 2.5      PortmnRdgFin     PTMN        2.38   -0.01     -34           98      99      82     C+ 62.1             VillageBnk        VBFC      47.00 -1.00    -71
  for the Southern District of New York, Daniel Patrick Moynihan United States Courthouse,                               76   32   78   B+ 30.0    Iradimed          IRMD          30.55    0.55   258   79   69   59   C- 21.3    PostalRltyA       PSTL      18.85    0.24     -66           89      71      95     A+ 39.7             VirgniaNatlBnk    VABK      38.55 -0.01     13
                                                                             1                                                                                                                                                                                                                 86      69      96     A- 10.2             Virtra             VTSI      8.40 0.39      36
  500 Pearl St., Courtroom 14D, New York, New York 10007.                                                                78   45   77   C 7.8      JerashHldgs       JRSH           7.13    0.43   294   95   89   47   D+ 65.7    Potlatchdeltic     PCH      55.07    1.01     -43
         The purpose of the hearing is to determine whether the proposed Settlement of the                               74   75   66   C- 11.7    JwttCmr          JCTCF          10.63    0.52   999   87   83   74   B+ 82.5    PrfrmLn           PLPC      75.25    0.45      11           85      63      84     B 4.3               VistOilGsSab       VIST      3.84 0.07     -71
  securities class action claims asserted in this Action, pursuant to which GreenSky will                                89   69   91   B- 9.0     JMP Grp             JMP          5.98   -0.16   -15   69   50   90   B 9.5      Priority Tech    PRTH        6.53   -0.13     -56           83      26      96     A 5.0               VOCEnergy           VOC      4.87 0.20      37
  cause to be deposited into a Settlement Fund the sum of twenty-seven million, five hundred                             84   74   85   C- 36.8    Kenon               KEN         32.58    0.57    38   72   54   83   D- 9.3     ProspectCap       PSEC       8.28    0.18     -42           73      38      94     B+ 5.1              WTOffshre           WTI      4.48 0.07     -38
  thousand U.S. dollars ($27,500,000.00) in exchange for the dismissal of the Action with                                79   63   61   C 74.0     Kilroy Rlty         KRC         70.75    2.22   -51   97   69   97   A+ 86.9    QAD I B          QADB       85.68   -0.01     -88           76      92      39     B 16.5              WhrFoodCmsFrm     WFCF      15.37 0.01     -90
  prejudice and a release of claims against the Defendants and Released Defendants, should                               81   40   95   A- 9.3     Kindred Biosci       KIN         9.15    0.01   -65   90   49   99   A 7.5      Quest Resrce     QRHC        7.54    0.28      99           79      79      39     B- 202.4            Winmark           WINA     192.80 2.20     -50
  be approved by the Court as fair, reasonable and adequate and in the best interests of the                             72   38   88   B+ 23.1    KiteRealty          KRG         21.50    0.80   -46   70   38   91   B- 14.0    RPT Realty         RPT      12.97    0.51     -20           88      79      86     D 8.3               Wipro               WIT      7.63 0.09      -5
  Class. If you purchased GreenSky Class A common stock pursuant and/or traceable to the                                 86   84   73   B 6.0      Lantronx           LTRX          5.59    0.24    -6   71   38   93   B- 6.3     Ramaco Rsr       METC        5.67    0.15     -47           71      46      75     E 7.4               WisdmtrInv        WETF       6.24 0.00      -5
 Offering Documents, you may be entitled to share in the distribution of the Settlement Fund
 if you submit a Proof of Claim Form no later than October 9, 2021, and if the information
 and documentation you provide in that Proof of Claim Form establishes that you are entitled
 to a recovery.
        This Summary Notice provides only a summary of matters regarding the Action
 and the Settlement. A detailed notice (the “Notice”) describing the Action, the proposed
 Settlement, and the rights of Class Members to appear in Court at the Final Approval
 Hearing, to request to be excluded from the Class, and/or to object to the Settlement, the
 Plan of Allocation and/or the request by Lead Counsel for an award of attorneys’ fees and
 reimbursement of Litigation Expenses, has been mailed to persons or entities known to be
 potential Class Members. You may obtain a copy of that Notice, a Proof of Claim Form, the
 Stipulation and other information at www.GreenSkySecuritiesLitigation.com, or by writing
 to the following address or calling the following telephone number.
                               In re GreenSky Securities Litigation
                                           P.O. Box 3560
                                    Portland, OR 97208-3560
                            www.GreenSkySecuritiesLitigation.com
                                 Tel: 1-855-917-3539 (Toll-Free)
                       E-mail: info@GreenSkySecuritiesLitigation.com
        If you are a Class Member, you have the right to object to the Settlement, the Plan
 of Allocation and/or the request by Co-Lead Counsel for an award of attorneys’ fees
 and Litigation Expenses, or otherwise request to be heard, by submitting no later than
 September 28, 2021, a written objection in accordance with the procedures described in
 the Notice. You also have the right to exclude yourself from the Class by submitting no later
 than September 28, 2021, a written request for exclusion from the Class in accordance with
 the procedures described in the Notice. If the Settlement is approved by the Court, you will
 be bound by the Settlement and the Court’s Judgment, including the releases provided for
 in the Settlement and Judgment, unless you submit a request to be excluded.
 PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE
 REGARDING THIS NOTICE.
        Inquiries, other than requests for the Notice, Proof of Claim Form and the Stipulation
 referenced above, may be made to Co-Lead Counsel for Lead Plaintiffs:
                              Cohen Milstein Sellers & Toll PLLC
                            1100 New York Avenue N.W., Suite 500
                                     Washington, D.C. 20005
                                                                                                                                        Master the Skills to Succeed in
                                        Attn: Steven J. Toll
                                     stoll@cohenmilstein.com
                               Scott + Scott Attorneys at Law LLP
                                                                                                                                        rঞomv$u-7bm]
                                   230 Park Avenue, 17th Floor
                                       New York, NY 10169                                                                                ;1ol;-0;;uorঞomv|u-7;ub|_m;v|ouĽvvbm;vv -bѴ®,
                                      Attn: Max R. Schwartz
                                   mschwartz@scott-scott.com                                                                             |_;Ѵ;-7;ubmbm;vঞm];71-ঞom=ouo;uƒƏ;-uvĺ
 Dated: July 12, 2021                                               By Order of the Court
                                                                    United States District Court                                         Learn more at: Investors.com/OptionsOnline
                                                                    for the Southern District of New York
  1
    This Summary Notice incorporates by reference the definitions in the Stipulation and                                                 © 2021 Investor’s Business Daily, LLC, Investor’s Business Daily, IBD, CAN SLIM, Leaderboard and corresponding logos are registered
  Agreement of Settlement dated May 24, 2021 (“Stipulation”), and all capitalized terms                                                  trademarks owned by Investor’s Business Daily, LLC. MarketSmith® is a registered trademark of MarketSmith, Incorporated.
  used, but not defined herein, shall have the same meanings as in the Stipulation. A copy of
  the Stipulation can be obtained at https://www.GreenSkySecuritiesLitigation.com.
                       Case 1:18-cv-11071-AKH Document 195-7 Filed 09/14/21 Page 29 of 31



Cohen Milstein Sellers & Toll PLLC and Scott + Scott
Attorneys at Law LLP Announce a Class Action
Settlement Involving Purchasers of GreenSky, Inc.
Common Stock

NEWS PROVIDED BY
Cohen Milstein Sellers & Toll PLLC and Scott + Scott Attorneys at Law LLP 
Jul 12, 2021, 08:00 ET




NEW YORK, July 12, 2021 /PRNewswire/ --


                                                             UNITED STATES DISTRICT COURT
                                                           SOUTHERN DISTRICT OF NEW YORK




 IN RE GREENSKY SECURITIES LITIGATION   Case No. 18-cv-11071 (AKH)




                                                  SUMMARY NOTICE OF PROPOSED SETTLEMENT


TO: ALL PERSONS AND ENTITIES WHO PURCHASED CLASS A COMMON STOCK OF
GREENSKY, INC. PURSUANT AND/OR TRACEABLE TO THE REGISTRATION STATEMENT
AND PROSPECTUS ISSUED IN CONNECTION WITH GREENSKY'S MAY 25, 2018 INITIAL PUBLIC OFFERING


YOU ARE HEREBY NOTIFIED that a proposed Settlement has been reached in this Action. A
hearing will be held with respect to the Settlement on October 19, 2021 at 10:00 a.m., before the Honorable Alvin K.
Hellerstein, in the United States District Court for the Southern District of New
York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York, New York 10007.1


The purpose of the hearing is to determine whether the proposed Settlement of the securities class
action claims asserted in this Action, pursuant to which GreenSky will cause to be deposited into a
Settlement Fund the sum of twenty-seven million, five hundred thousand U.S. dollars ($27,500,000.00) in exchange for the
dismissal of the Action with prejudice and a release of claims against the Defendants and Released Defendants, should be
approved by the Court as fair, reasonable and adequate and in the best interests of the Class. If you purchased GreenSky
Class A common stock pursuant and/or traceable to the Offering Documents, you may be entitled to share in the distribution
of the Settlement Fund if you submit a Proof of Claim Form no later than October 9, 2021, and if the information and
documentation you provide in that Proof of Claim Form establishes that you are entitled to a recovery.


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This Summary Notice    1:18-cv-11071-AKH
                    provides                   Document
                             only a summary of matters     195-7theFiled
                                                       regarding   Action09/14/21    Page 30Aof
                                                                          and the Settlement.   31 notice (the
                                                                                              detailed
"Notice") describing the Action, the proposed Settlement, and the rights of Class Members to appear in Court at the Final
Approval Hearing, to request to be excluded from the Class, and/or to object to the Settlement, the Plan of Allocation and/or
the request by Lead Counsel for an award of attorneys' fees and reimbursement of Litigation Expenses, has been mailed to
persons or entities known to be potential Class Members. You may obtain a copy of that Notice, a Proof of Claim Form, the
Stipulation and other information at www.GreenSkySecuritiesLitigation.com, or by writing to the following address or calling
the following telephone number.


                                             In re GreenSky Securities Litigation
                                                        P.O. Box 3560
                                                  Portland, OR 97208-3560
                                           www.GreenSkySecuritiesLitigation.com
                                                Tel: 1-855-917-3539 (Toll-Free)
                                        E-mail: info@GreenSkySecuritiesLitigation.com


If you are a Class Member, you have the right to object to the Settlement, the Plan of Allocation and/or the request by Co-
Lead Counsel for an award of attorneys' fees and Litigation Expenses, or otherwise
request to be heard, by submitting no later than September 28, 2021, a written objection in accordance with the procedures
described in the Notice. You also have the right to exclude yourself from the Class by submitting no later than September 28,
2021, a written request for exclusion from the Class in accordance with the procedures described in the Notice. If the
Settlement is approved by the Court, you will be bound by the Settlement and the Court's Judgment,
including the releases provided for in the Settlement and Judgment, unless you submit a request to be excluded.


PLEASE DO NOT CONTACT THE COURT OR THE CLERK'S OFFICE REGARDING THIS NOTICE.


Inquiries, other than requests for the Notice, Proof of Claim Form and the Stipulation referenced above, may be made to Co-
Lead Counsel for Lead Plaintiffs:


                                              Cohen Milstein Sellers & Toll PLLC
                                            1100 New York Avenue N.W., Suite 500
                                                   Washington, D.C. 20005
                                                      Attn: Steven J. Toll
                                                  stoll@cohenmilstein.com


                                              Scott + Scott Attorneys at Law LLP
                                                 230 Park Avenue, 17th Floor
                                                     New York, NY 10169
                                                    Attn: Max R. Schwartz
                                                 mschwartz@scott-scott.com


Dated: July 12, 2021


By Order of the Court
United States District Court
                                                                                                                              
for the Southern District of New York
               Case 1:18-cv-11071-AKH
SOURCE// Cohen Milstein                          Document
                        Sellers & Toll PLLC and Scott          195-7 at
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URL// www.GreenSkySecuritiesLitigation.com


1This   Summary Notice incorporates by reference the definitions in the Stipulation and Agreement of
Settlement dated May 24, 2021 ("Stipulation"), and all capitalized terms used, but not defined herein, shall have the same
meanings as in the Stipulation. A copy of the Stipulation can be obtained at https://www.GreenSkySecuritiesLitigation.com.


SOURCE Cohen Milstein Sellers & Toll PLLC and Scott + Scott Attorneys at Law LLP




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